u.S.PGStBi$EWlE£!x-.- D¢c‘_;"q ` _ 7 |:'| 081817 p 1 f54
cEaTlFlEo matt..mnt=.eetpr . wl "ed / / age 0

fDamsstlc Msll Dnly,' No insurance thwarng Fmvlded) [n('_lc,\' N 11111'[)¢1'; (;,`\?~{]89896-[}8/111\:

 

raa_t__ oests_s itt tose ;1;___ ;;

|l|ll||l||||||||ll|i|||l|||ll|||||l|||i|||||||l|||li

 

 

 

 

 

 

 

 

 

 

ala -q‘g t r - - - - t » - t
*“° “" 5 m ?@P‘-‘Et‘i\t ~__'.3 _st_»,_?_ __Qm_t_ t»_»t- ,,,, ;,~\w_ ,__,_,. Nottcaott stratton
swer sa.:to 12 _ '- -“ .r,b -t=\ ¢\- w .,-n
ceMWt§i se.ott tim
t§‘£é?§'»§?m°i'§?e‘t't';%‘l to.ao ___ _ _ _
notessmgsws¢, 3 s._'t, to 05,'0_;2.314 h " 'T e annexeed ali"tdavit oi` AHDOU GAYE
"§¢'Er"?"o
M/.(B. _i Wé_jrc[’) EFT`€?X~ A`é./. , 2014 , and the exhibits annexed thereto,
M)"w~s' §_Ui_'ft£_‘ fepc foam thé*;/¢Ett-

 

   

i:‘.t‘t;‘r s'uir'é_ z'.'iiC'-¢ §M"' y‘c©'j“

PS F\'.trr'n .!l|[h'.] August ElW{$

   

 

GHW!,` -`

Sr.*l: Fio\.'trr.n mr lnt;!rucl`fnr|s."

  
  

ENDANT will move this court located at

351 Grand Corteourse, Bronx, New York 10451 I"art 34, Sth Floor, Room 503 , on the

.'HST

, day omeA'&’ ,20}4\ , at 9230 am , or as soon thereafter as can be

 

heard t`ot' an Order :
Rir'lSTORE 'l`O THE TRIAI_. CAI.ENDAR l"OR ’l`t~`tl`:`, ti'l.,IRPC)SE Oli` CCJLLEC"['ING (§)N A VACA'I`EIJ
DEFAULT JUDGMENT_

and for such other and further relief as this Court deemsjust and proper.

[`X l

ll

ll

PLEASE TAKE FURTHER NOT[CE that teheel< the applicable box below):

Appearnnees are required on the return date of the motion by the moving party. The
non moving party(ies} should also attend to interpose any response

these papers have been served on you at least eight days before the motion is scheduled to be
heard Yon must serve your answering papers_. il`any, et least two days before such time upon the
movantl

these papers have been served on you at least twelve days before the motion is scheduled to be
heard You must serve your answering papers, if any, at least seven days before Sueh time upon
the movantH

MAILTO:

Gary Miehael i~{avulich (Counsel for Pltl`)
181 Westehester Avenue

Suite 500(3

Port Chester, `New Yorlc 10573

Ml unswering papers to the Court are to be filed on the return date ol` the motion with the Clerk

572 t

in the Part listed above

May 2, 2014 Frotn: ABDOU CiAYl%i
825 lE. l?(l'l`i'! S'l`l`i.[%flfi'l"
AF'I`. 4B

ft ¢'/ aRoNX, New rent 10459

fjd-Lv~»t\~l~!_ ¢."-'?J M-‘FFF'
0_¢¢_,`_,(0\,_‘,,¢ J,L.e»/-¢'/ /'¢~»t/ /tf.’_
€io,ot fin sewer reeves

hrr ¢'f'¢l
d ’“M iii"°‘.ou'soola.l J.nesu.q.t_

 

_Case 1:16-cv-02134_-ALC Document 86-47 Filed 08/18/17 Page 2 of 54

.'the City of New \"orlt lndex Numbor: (.`V-ilii§ltl£lti-iltl/RX

 

 

 

 

|||ll||||l|||l|||ll l ||l|||||l|||l|ll|l|l||ll|l||
_,,,-~P`ROSPEC'!` REALTY ArrtnAvrr tn stn>ron't or
. P't‘i“““lsl No'rtos or norton
____,,.t=’ ~agatnsl-
patton cows
..-\-:<"'°"" Dei`endant(s)

 

 

;tt'?"""il ABDOU GAYE, beiny_.,‘r duly sworn, states that l would like to obtain the following relief from the

Court: RES'l`GRE '1`0 'I`I-ll§ 'l`RlAL CA.LENDAR I"`OR ‘l`l-IE PURPOSE OF COLLECT[NG ON A
VACATED DI`:`FAULT JUDGMENT_

 

n_rzTE/e "T`rs _Q@`th/zN ¢?»*SZ'@@GP
The basis for my request is: Cr.‘t»£»£~ C.:.'“`(:] Tc‘."~”/_
/Ft:./_? /*’;lo.ze;”e'T-A.// goes 77}¢? M_:ze DE;s'»e:/i§
to _/¢_,. com _st stenson flu/1721 era powe/ts
fit /:? ala/? ee?“toe»</e'?@@
_/_,t/ green ,1/¢2*/'3

vr'r

 

 

 

 

 

Wf'lEREFORE, THE UNDERSIGNED RESPECTFULLY REQUESTS THE WITH[N MOTION
BE GRANTED‘ M mm
day ol\`1 0 . / ‘ §

Swom to before me this _____ _
<)//- Signature ol`
\__"__,J ""' ‘*-\_-¢-"

      

Notary P'ublic/ Court` Etnployee

Page 2

 

m"
Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 3 of 54

____~__`t_ n__f _the __C_i_ty_ of New Yorlt tnd¢x Number le rt l r_'_l_l“l:>'""l tle /ll_»_»_jj_')gj;`;>»._
l '''' 'l'~L- l _`tfi-- _ Motion Cal. # Motion Seq. #_
Pan ___::»_»._.._t;. _t__ ___ _______ __ _________

f ----- ;;~ osetstoN/ont)sa
edf llllllllll: d l ll;£l“:lf 'l"l"':`] "'l"-)l: ml ll`\ ll'£ l"llll` "l;i lrl“ll ":) keeiuttion asr¢quired byt'.`PtR!i'.’.Zl'illal ol'lltc t:utP¢=ltll;l‘l:llel ?<wt..:l

 

__.§tri'l` l considered in the review of this Motion.
Plper$ Numb¢r¢d
___Claimant(s)/Plaintif}`(s)/`Petitioner(s) some attention mt Ant¢tavio smelled .........
-~_ ____ ____. ag¢lff‘l.‘l`( Cl‘rdt:r to Shnw Caus: md A,H`tdtwiLs Art.n:)t:d .....
Ew__,"rlllr~ ll'll§w- ti,__ »‘*‘;.. 'l l‘\,, \ Fl;__ lilst _____ l_ A,,mtwcring Afl‘|davit$ ,..
w»'l lllllwll Rep|yin§ Affidavt`ts .................................
Etthib'li.'z ............................................
Defendant(s)/Respondent(s) outer ................................................

 

U_pon the foregoing cited papers the Deeision./Order on this Motion to ltfle:'w ":l ‘-. e:'wlw§."" Flw

}'{- ;___wt____§ l{_,.tr_"“tt§_:¢tt ~tiéw.tf’ wl )`QL’Y"l offer Q___C. l l""l“ l_~."j£_;ll l<_:}ll"°ll i-‘JHSFOHDWSE

 

M"' " --" l" "-\'-"' "~\. ;~'--. t-"\ ."“_H.» “\ ¢- r' -f»-\--\l-lt-Ill`
lwll f wwt+ew ,.”t nj `lt:':wtt "`i`l w"_”j_t t `t' `;`_"“ttll`\ ____, `l\`l`l ?w._ t‘_ "ll"l:u t l "‘ls tw..~_f l*' lt£;;;btf"'“~.le;wiw__:>_ t_w.>t t beef ‘ folth n
_____,_J

 

__w- __t wl _ _.
llr lai.“lw ltl..r»l_t: it`~l w_)l"`"`v“\” l` b'i_;:__tr““"~§ll\ lw_;‘:t tl`tl»_ .lr’ ww,ltw"_`>lwt `*»,/ e__"."llt£lwl_w dwl*.`l "“t~;w' . f"“lt!‘twwi,.ow

 

  

 

 

 

` ' ml"t
l ,»'_. __..--.. __f t _- ___ _______ q __.. __ ___ __
‘-»~-l let ¥~..w:'~ _ r"s_t;:,..““;:-"l"“".- _;_ -_;-_;tt_.~ rs lr{§ (w.l__t" tf__w ttwwst-~l--tf trw-`" j/ér _C___`.` w ,rf"<;-'_`f__
' l ‘t
t""t " ' \'l._~ l..i:;l.‘l'lw‘.l l{' tl__wt _
; 'l";f_.\ f_,w` __w _,..r -~. _:~lww__: .......... -""~} w w.w w. _.r,. -..__w ____tl' .. -; .. '~'t.'
)__._»~'t~\' »-l~t;‘.t' tt_,`t e;:l_-l.»t `,.“t“ `b s__.rf l‘ ; “,tw.,lt’____wt"“"~_.t-_-' _t wi , l`t_’. t ’“ _t...,c__.< f-....r>
__ l
_. ,-t te- =; ~ rs -~-»\ l\,_ .~l mt f wl ...il..\"-l" ..... ~-»~
=."`?.. beliefs r \r.';_--s.if ~w.\.f’~i<-.-:t;\..~t t_._w~l-»” heir-irth = t »;:;111#' t iwl-“~¥~*~ tr “~ tw,ewti~ t lewy-l
, .

 

l

 

ll ‘tt`“- t-»-ft»w-li~`-s“l:iltii,t““""( tel protest `i"’w,t s?£s tro l i»it, tt esso lwwst__t__wr__ lll-:le‘_l':t._a__ _t.row:;, f

 

,~ - st
f it _ ....... __ .-
lift »'f-T??l-~f..-ft ‘"-~l taff-f "“i» li:>c’ ..ft;.';;"§ft fl__ ttw» :¢Jt~ ----- t list `)`l' tl bit"»?'ft l".‘"' tr-~*til w

 

 

rifle st or team »t rtc st"-t~t»a,""i,`f;e,r_j_.tf-st wr“>j;f)twts.r" tittl-

. Ofltit, ill
_ _ _____ th)' otNet;YOrk wig/__
l ;'l'l:l" ___-l l "‘"“.tl' § i_'llll`_`> Dlll: 17 Z[H_'); l'r’ll
., Date RE_NT _ _ ludge,CivilCoun

' fifteen
.RD!"‘¢'Lr-¢
t l wa:__t t __ _t l
' ' l ELWETH trwst
moos,etvn,eounr/

CW'GF-U thread would l'H'Fl

CaSe _1:16- " -¢ ' f* ' locumen ='--1 le 0`:' ' : 'ag_e f 0 54

 

    

 

mJ cou_m" OF THE eITY oF NEW YGRK mass Nu. @~,§j§§ ii C/:)[O§§
__f'o/tunty of 'Ps?<.'_ie:)<“">=“i Part { \
_,‘ Fs/e 4#;
_ _ _ sTIPULATmN
_____L_} 5__ [_+ 5 _:>£;_»_ C_;_\;=E,PQ__ C:[-" TQ_Q_Q_(_»__~(~L__ DF SETTLEMENT SC?J@CD
Plaimitt(s),
~against-

pt E) E>OL./( 677 3 lj&De-fendanf($)»

 

It is hereby stipulated and agreed by and between the parties that the abeve~refereneed

action is settled as fnllows:

`_Um:s -Pr"",_-_;t ¢;Q__owc_l,trsc_gjs is dt:s<;;¢:)rt\t'vw.::rwwt ;_.C{

 

 

 

 

" l l GUI'[

of the
Cit},' of New Yerk

APR 14 2014
ENTER.ED

 

 

 

 

 

 

 

19 ') ,C.D<'_.(r"! <‘,x,{-"’/

 

 

 

 

) ,) "'F'“" "~ \/t»;/{ arts safari/fe
zt/, watt fe / if /ttrt//~..tr»
Signature § > _,»I§ate f __Signatu_re Date
_,-'7-! tth -f`.»"‘“"':`*!‘ d al `_/;~rf"
Signature Date Signature Date
Page of

 

CIV-GP-ss (Revised Decembar, 2005)

Page 4

CaSc_;"'i:l€-cv-02134-ALC Document86-47

H.{d'rk, County Of` Bronx
_/.dt`lhc City efNew Yerk Civil I’art

.v

¢ ' PReSPECT RBALTY

 
 
 
 

N- ~again$t“
;: DDU GA‘£E`.

Slate of New York, Cdunty of

 

(Nem: el' Persun serving papers)

Plaintiff{$}

Filed 08/18/17 Page 5 of 54
Index Nd: CV-USS)S%-(JS!BX

AFF[DAVI'I` UF SERVICI§
0sz Notiee uf"Mdtien

Defendant{$}

SS.!

, being duly swern, deposes and says:

lam ever the age of 18 and note party to this aetidn.

At , on

('rh“¢) (L`!ale)

, l served a Netiee of Metien en:

,1:| Aelual person to be served

 

(Namc of lndi\'idua\ Pcrson served)

()R

(Name oFAmherizcd Fcrsen tc accept service }

Address of Person Served

§§ Person of suitable age and discretion

for
{`Ncn'\c ci'Busincss er Enfity)

 

(Acluo! address on pepets w be ser\'¢d)
Locat'\on of Person Served

 

(ll‘difi`¢_-rcm lhon address indica!ed en papers m be servcd)

 

 

 

 

j By personal I)elivery OR |;| M`ail (Check all that apply)

Descriplien ofpersdn served: m Certified Maii #

Sex: Cclor of$kin: |:| Registered Mail #

H°§E»h“ _ W°igh“ E| Relurn Rceeip! Requeeted

Hi!er CDIC|I“I Ey¢ CO|€|I: m I:irsl Class Mail

Bmld: H-»---- Agc: |_:] Firsl Class Mail with CediHcete ofMailing #

 

 

 

Sworn m before me du

mm___”______m, ZO_W.

 

Signature of Server
(Musl bc signed before Ncmry or (.`oun F.mpluycc)

 

(Signamre of Nomy Public or Cemrl Ernp!eyee]

Pagez 5

 

Case 1:1_6-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 6 of 54

CIVLL comer orr THE cI'I‘Y oF New YoRK lease Ne. &§ QE£§Q! 108

County of RE@F`K-Pan L\

 

 

 

sTIPULATIoN [:D)}Q’ *';{:J
zl-}:§.__LP 5 P@@§PL aj 'IZ@_QJUL] oF eE'I“rLeMENT 859
Plainefi(s),
»egeinet»

¢A\‘“ES bod § 3 jLDefendanf(S)-

 

It is hereby etipuleted and agreed by end between the parties that the above-referenced

action is settled es follows:

' l }"\! 5 'Pr'"‘¢;e C:%Q_<‘j,,tr"\¢z 15 dljcj.@m“%mmg,c;{

 

 

 

 

Civil Coert
of the
City ef New York

APR 14 2014

 

 

 

l‘l .l. DRBM
BERONX CGUN'I'Y

 

 

 

 

 

fnb am /
c@/M»%e?§/;W<Me edge

Signetu.reL-) /ljate / Signature Date

Al BDW @AV(C
Signature Dete Signatu;re De.te

 

Page of

CW~GP»EZ (Revised Deeember, 2005)

 

114/20141etiert;j~»‘-FCiv1316051?“€`%@1%%”6” F"edf93";1';?51'§11?;i;;ji§?‘??(?“ i‘j“j 541 Pt~

CIVIL COURT OF '“I`Hl€`. CI'I`Y OF NEW Y()RK
Civil Cout't‘. 351 C_irund t'.`oneetirse1 Bronx, 'NY l()¢i:‘)l
l'lousing Ceun: l l 13 Gt‘:md Ct:tneourse1 Bt‘enx, NY 10456

|NTERPRETER
REQUEST l`-`ORN| & SCHEDULE

Seanlernall this form ONLY to Es[oban Bujanda or deliveries LS.T Intorpreter mezzanine area. Print Legibly.
Suomit ey,em'[ en interpreter fe already scheduted for the dete(e) sought

 

i) Lzuiguage-speeiiie dates ere necivuted only when n written request lies been submitted

2`) Requeele must he submitted m least 72 lmursi'.'i business days ln advance (not counting submission or appearance date).
3) l'-`or languages not listed you must call the interpreters Ol`l'lce et 718 466 fillil'.l.

~l) Use l`or AL.L languages including Bpenisli lrinls.

Lengttege(s) wo [D'€ Aesigmnentdete(s`) ?_='f l eli /k/

Bem:h 'i'ritil [| Coitferenee ij l“lent'lng, [] inquth ll Jury Trial ll Motion l:|

 

Clteel< lenguege(e)

 

[l Albunian [l Cantonese [| Greek il .lepanese l] Polish l] SpenisltTrizii
r-'wee \-Men

[l Arebie |3 Crozttien U Gujereti [l Khmer:e.mmn.n l] F'ortuguese ll Thei
1"'_1"'!.4"'
weonesom'e

l;i Armenien l] Farsi U liaitien Creoie U i<'.orenn U l’unjebi [l Twi

Z`“MON 1"'TLJE

[l ASL [l Freneh U l-lebrewr~.-.n.»i. U Men`duriu [l ltttssien l:l Urdu

Cdll »BEUG'\I 1", 3" 5- 4" l"' MDN 3d TUE
wEoNEeoAYs

l:l Bambare l:l Fuleni l:l Hindi [:l Mendingo [} Serbian [l Vietnetnese
t'= pay went 1"TuE s" Tt..tE tv pay WEn

iii Bengeli U Gerutnn l_'l ltelian U Mi.\tteeo [l Seninlee lil/Wulol`
t" ed B"' MON \“ TUE 1‘ pay WEU

[l Otherm,_

 

inter ret ru e nty ADBM ` Bool< ECourte
index #_j§j?Z/@ Ception/;W 35 {iw.\t\?¢'”'lb l'?¢¢~ll'~;f u>. 6'£{\/"5

"'/"‘__'“.rt-
'I“ime iii 139 {fle_’\ I"urt/Room l ( f §0-3 lenoetion (eirele one): l£@i?>
r""`" ;
l{e\'.luested by tj:/"£““mr¢£ 6er it (~/' .Qd 'l'Odil)"s dale (Zz/fl ``` 1 ttt 4 m

l"ritlt N:ime de 'l"llle “

Pege 7

 

 

Case 1:16-cv-02134-ALC D_ocument 86-47 Filed 08/18/17 Page 8 of 54

 

Civil Cou fthe City of New York
County of \Q-\,Ot \)<
Part Bi~ v

 

 

l 5 Li*;.;_.}> ~»-l”it§ ii \:)ij\‘“]€ C_:l~`i%¢m§LQ`-`('“lj

Claimant(s)/Plaintiff(s)/Petitioner(s)

agat`mt‘

@lxd®m G§.»€::iej Qm

Defende.nt(s)/Respondent(s)

 

Index Number €i)q &lJQ w /C':J 'tC°))

Motion Cs.l. # Motion §eq. #_`
oeclstoN/onosn H:i Q'ii _
Reeimtton, as required by CPLR §22\9(a)1omeM
considered in the review ofthis Motten'

Plpt¢l'$ Number:d
Notiee of Motion md Afl'ldnvit.s Anne:tted... . .. . ..
O-rder 10 Shuw Cause md Ali'tdavits Anrteited.. . ..
Answering Al‘l'tdsviL-t ..............................
R.eply`mg Al`lidavit.s .................................
Eshibit_s ............................................
Other ................................................

 

l|l|l

Uport the foregoing cited papers the Deeisionfi]rder on this Motion to \/B G_+Q

d@t€c§ie.tLli' lt,,tCithr-\Qfst`“ Q,t"»th/“Q_C__i 1450qu

is as folloes:

`De_s&x-.€ies,rst 5 ww<;tri_r:ir~i ts ctrd e-_sw~;i‘e.t_> tm dereme
`TF“\Q~h tt..i(j<;)w'*\@_r-:l” 15 ijt)_,)(”e,l:>t..,»t VED.¢;;.&MQQ )AtL_L
Lth\§/Reeel~v-eetr~\‘i§ tilr"es. lt.I-/@b» d§é§ddv@

tt~t'\medit<?;ele,lt,t

®Q_~sl@f\ d.»<'£ar\+t$ "'?Dr*@;’.)c::rj€ D-;i(i'\ W.tz,w 15
<_;;;l C,ltim&/D E).R,Ei)/“ELE> k.\DDf"tFT/‘l E“a.tt/"\‘l‘c'F-)ti tte~\ C;<:it./t.?e;j“`

 

f_i‘l<'\§i-/@l;dt§,t’“ th;>usit?nll<d l“t::t |i~l”t.,tr”;:~.c;i.-Eet_s ij€_l~m,i@p_j
(0 £t:)lf-l @ al 30 esso/t ?c~t:>H 505 does Wte:tl

 

Mf><?or\eet;;mle.s weth en /t>tz>.i'zew 09

”n-tte t"m,t.o.:‘t

 

teltelt:’>

 

 

Datk

 

 

 

l l
l l

\‘.‘l\'-Ct|’-|$ flame w 1\‘"1

 

 

C_ase 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 lF’age 9 of 54

Civil C`ourt of the City of i"~lew York Indes No: CVLUBQBQG~CS/BX

 

CO“'“>' et B“"" ll|llllllllllllllll|lllllllllllllllllllllll||llllll
1343-45 enossacs assist ANSWER IN WRITING

'"E\Q'ain'~°=t-" CON$UMER CRED{T TR:‘\NSACT[ON
AB DOU GAYE : series ron MoNsv oscar

 

Delendant, ABDGU GAYE, at 825 E. l'?()'i`l~`l STR}EE`I`, APT. 4B, BRONX, I\lew York 10459 answers the
Complaint as follows:

t'_`.`hec'k toll that oppf_v)

l mm General Denial: I deny the allegations in the complaint
§.E.B_KIQE
2 wl did not receive a copy of the summons and complaint
3 :I received the Snmmons and Complaint, but service was not correct as require b law. _
q Mnss_snsas , 99 XNOHA"
@ mmwl do not owe this debt 'I‘MO»'J ",[[AD
5 Wl did not incur this debt, l am the victim of identity theft or mistaken identityt EH}Z d l 330
5 mm“__.__l have paid ali or part of the alleged debt. `
'/' mud_dl dispute the amount of the debt. GHAIHDHH
8 mm l do not have a business relationship with Piaintii`f. ( Plaintifi` lacks standingt) - ~
9 The NYC Department of Consumer Afi`airs shows no record of plaintifi1 having a license to collect a debt.
10 :I"‘laintiff does not allege a debt collection license number in the Complaint.
ll ___ Statute of Limitations ( the time has passed to sue on this debt more than six years.)
12 'l`he debt has been discharged in l:)anltruptcyl
13 m'l`he collateral (property) was not sold at a commercially reasonable price.
14 _I_lnjust enrichment (the amount demanded is excessive compared with the original debt.)
15 m\t'iolation ot` the duty ol"good faith and fair dealing (\[ t;;‘:=
16 mUnconscionability (the contract is unfair.) [\tl E»‘
17 mLaches (plaintii'i` has excessively delayed in bringing this lawsuit to my disadvantage.)
18 §Dei`endant is in the military. N C,-_;,
19 Ol.i'ter:

 

OTHER

@ l’lease take notice that my only source of income is di l 6 f J?@/.»tgwhi\?l\ 15 €K¢mPl from C°llecti°n'

COUNTERCLAI.M
21 Counterclaim(s):$ Reason: “ g '

 

VEI:LIFICATIUN-
State ol`Ncw ‘t’orlt, County of Bronx ssi
ABDOU GAYE,being duly sworn_, deposes and says: I am the Del`endant in this proceeding l have read the Answer in Writing
Consumer Credit Transaction and know the contents thereof to be true to my own knowledge except as to those matters stated on
information and beliet`, and as to those matters l believe them to be true

. 0 guilt .
Sworn tow thi SEP day of 20_____ '\l§ 514/1743 ‘£`“M__
ii H¢£'/ Defendant

Notary Pu`blic fCourt Employce and Titlc

F’age 9

 

l_`\&\\:b?§;fjase 1:16-0\/- -02134- ALC Document 86- 47 Filed 08/18/17 Page 10 of 54

..... s 1_`,`:'.-'5:' Appearances rMandator'y
`_',ivil Cnm'"t of the City of New York index Number: CV-UHQSQG-OH{BX

“`"`°““"’°"“"““" "“"” illl|l|||l||l|l||l||ll|l|l|lll|ll|l|||ll|ll|ll||ll

..34 3-45 PROEPECT REALTY ()RI)ER 10 SH()W CAUSE
'aqainst' 'l`o restore case to the calendar, and vacate any
‘“"°BDOU GAYE ?[11'} ¢-5-,§ n judgment, liens and income executions on this
' "` " l ‘~" F‘:'»" iT_J- c defendant en this Index number,
allow proposed answer or dismissing the action

UPON the annexed affidavit ofABD@.l GAYL" sworn to en September 30, 2013 and upon all papers and
proceedings herein: -~ .\,1

i..et the Clairnant(s)/PlaintitT(s) or Claimatit(§iiillaintlti(s] attorney(s) show cause at:
Itrenx Civil Court

851 Grand Cenceurse
Bronx, New York 10451
Part 34 Reom 503

 

 

en WlO at9:30AM/(/<:)//_°Z
01 as soon herealier as counsel may be bear y an order should not be made:

VACATING the .ludgment, and all income executions and restraining netices, if any, restoring the case to the

calendar, deeming the proposed answer filed and!or dismissing the action if warranted, and/or granting such and
further reliel` as rnay be just.

PENDING the hearing of this Order to Show Cause and the entry ol" an Order thereen, let all proceedings entire
part of the Claimant(s)/i’laintifi`(s), Clain“iant(s)/Plaintiff(s) attorney(s) and agent(s) and any Marshal or Sherit`t`ot`
the City of New York for the enforcement of said judgment be stayed.

SERVICI‘§ ofa copy of this C)rder to Sliew Cause, and annexed A-ftidavit, upon the:
Clair'nant(s)/Plaintit‘l"(s) or named attorney(s): Sheriti` or Marshai:

(.lu n nilial) (Jud e tci lttttlBl)
g by Personal Service by " in t-Iand Deliveq,r“ by Personai Sewice by " in l-iand Delivery"
_g£,,_w by Certilied Mall Return Reeeipt llequested by Certitied Mail, Return Reeeipt Requested
by First Class Mail with official Post Ot`fice cszy Iiirst Class Mail with etiieial Pest Otiicc
Certiticatcil ot.`Mailing Certiticate oflVlailing

on or before |lE> , shall be deemed good and sufiielent

 

PRO{)I" OF` SUCH SERVICE may be filed with the Clerlt in the Pnrt
indicated above on the return date of this Urt|er to Shew Cuuse.

Matt tu Att¢»rney er party: Sl\eritflMirrslt:\l:
Gary Mieliael Kavulich (Counsel t`or t`-’ltt’), N‘\’C Marsha|
tttt Westehester Avenue. Sutte SOOC. Bif¢€.€|. Sl€t>h<=“. Mt\tshal
i’ort Chester, New York 10573 109 W 38 Street
Suite 200

New York, N"tr' 10018-3615

Septernbt:r 3'()1 2013 f d,
DATE fifteen eph lj-L Canella, Civil Coun lodge (NYC)

F'age 10

 

$\03

lC_etse 1:16-cv-02134-ALC Documen186-47 Filed 08/18/17 Page 11 of 54

Md`i't oi` the City ol`l`~lew York, Cottnty of`Bronx lnde:t ii CV-USF)S!)G'{)$}' 1331

l- - 4 5 PRDSPECT REALTY Al`l`idavit itt support ol`att order to show cause to
-aqeinse-

pat restore case to the calendar1 vacate any jttdgntent,
MBDOU GAYE liens and income executions on this defendant on
»` this index nuntbcr,

allow proposed answer or dismissing the action

 

State oi`New Yorlt, County of New York:
ABDOU GAYE,being duly s\'t'¢nrnJ deposes and says:

tDet'enunnt‘s initials)

1.__Cr` § a) l am the Party named as {Dei"endant}(lt.espondent) in the above titled action f@` f n M M 017-m tip/11 jz?:l/

2. E¢-Q a) l have been served with a summons and complaint in this action. lNDTE: it`Sntn|l Claims strip #3, and ge te it 4|
wm b) l have not been served, and my first notice of` legal action was lNO“i`t£: if you complete any of #31),
skip #3, #4, #5, and go to #6]
tt Notice ot" Dei`ault Judgntent mailed tome
a li,estraining Notice on my bank account,
ji:};?__(;-§ a copy oian income E':»:ectition served en
Other:

  

 

 

3. G~A a) l did not appear and answer in the Clerk‘s Ofiice beeattse:|NDTE: il` you complete itt Ba, skip and go to #ti|.

 

b} I did not appear and answer in the Clerl-:'s Ctl‘fice
and l received a date i`€)t” trial.
but the answer was entered late

Other: l_§)gz¢£éfz LICG`NSTE [[l/!'W.'>"d§'{»b(" /..»Fi~£-t g(§t'".'t"t"}?.f.?.?(

4. On the Date ot`Trial before .ludge/Arbitrator
a stipulatien(a written agreement) was made between claimant/plaintiff and defendant.
a judgment was entered after the trial.

ajttdgtnent was entered against lne by default i`or my failure to appear.
Otiter:

 

5. My reason t`or not
c.'£;t §§ complying with the stipulation is r\l 556 r.'Z-»»
-é`g__¢g___ following the order of the Court is

appearing in court en the date scheduled t'or trial is
Otlter:

 

 

 

 

('ti.:" lallege that I hayes good defense heeause: \» 7 l’f“/d'i/C:"“ /'W_Y l N G t”.IJ_fl/l t‘°':" (".C?/“?)“

 

 

7. §§ g aj l have not had a previous Order te Sltow Cause regarding this index utunber.

’&‘B~_ b) l have had a previous Order to Sliow Cattse regarding this index number but l tim mal-ting this applicatiert.
because: gil roe :

____ _,.-~- .. i-__“.“.“., .................................................
_-' t 't

v l request that the ludgtnent be vacated, that the case be restored to the calendar, that the answer be deemed
timely filed and permission te serve these papers in person. .

 

Swom tn before me this day September 30, 20l3

/J/MW l&{/ {'Signl‘lante) ‘/-lf?/l{t§'l:( cdi-ribun f

ABDOU GAYE

 

Signature tii-`.('_`.ottrt i;`tnployce and 'i'it|e 325 E__ ] ',l(]Tl-I S']`REE_T
AP'l.`. 45 l -
BRONX, New Yorlt 10459

 

 

Bronx County Ctvl| Court

Fl e 08 1817 Page 12 0154 _

 

i_,,/’l Civil dudgrnent
F’loirttift(e): lrtdex Nurnber: CV~UB$SSB-US!BX

1343‘45 PROSPECT REALTY Judgment issued: On Defau|t
va. On Motion of:

Kavuttch Gary Miohae|
Defendant(s): '

ABDOu GAYE gigatz]l;urch St Ste 26, New Rochelle, NY
Amount claimed $2,9[]0,00 Cost ly Statute $20_00 Tranacttpl Feo $0.0D
L¢$E Paymeml$ made $U.UO Irtdox Nurrtber Feo $45.00 Cot.trtty Clorit Foe $O-OO
t.ess Gounteretatm Oftset $0,(}0 service Faa $25.00 Entorcomont Fee $40.00
Intsrest eatonaooa et a% $1,739_77 Nen Mttttary $0.00 other otseursr.-ments $0.00
Attomey fees ${)`t}o Notloe of 'i‘riel $0.00 Otrter Costs $0.00

Jury Detnerte $0.00
Totat Damages $4,639.77 Totat Costs 81 Dlsbursements $130.00 JurtgmentTotal $4.769.77

The following named partiaa, addressed and identified aa ered|tors below:

Platntitf ereditor(s) and address
(1) 1343-45 PROSPECT REALTY

1343 P'ROSPECT AVENUE. BRONX. N`t‘r 10459-
Sha|| recover of the following parties addresses and identified as debtors betow:

 

Defendartt dabtt:tr(e) and address
(‘l) ABDOU GAYE

825 E. 170TH STREET, APT. 4Et, ERC!NX, NY 10459-

 

Jl.tdgt‘l'tet'lt entered at the Brot't>t CDLtt'lty Clvl| Cctt.|rt. 851 Gl'at'td COttt';Dut‘$e, Bt‘ol‘ttt, NY 10451, in the STATE OF NEW YORK
ll'l the total amount 0154,769.77 tim 04!30[2009 3104:30 PM.

Judgmertt sequence 1

\,ée¢»e't_ /GQW

 

Jaek Eaer, Ch|ef Clertc Clvi| Court

F'age 1 of 1

Page 12

Cas_e 1:16-_cv-02134-ALC Document 86-47 Filed_08/18/17 Page 13 of 54
.CITY C)F NEw Yt;)m\:l

 

+"- --------------------------------- lNDEX NO. 39396/'03
,A'ealty,
FILE NO. 3860
PLMNTIFr-“(s) JuooMENT
1"`“
lrl,1€\".@,¢~.ross
.w"'vw
J,it Gaye _
AVM"“` 1343 Prospcct Avenue
A._F.t=*` Brom<, NY 10459
¢z.“ DEFENDANT(S)

AMOUNT CLMMED LESS PMTS ON ACCT. $2,900_00
INTEREST FR.OM 9!1!2002 31,685_63
$4,585.63

COSTS BY S"I`ATUTE 520_00

SERVlCE C|F SUMMONS AND COMPLAlNT 525.00

FIL!NG DF SUMMONS AND COMPLA]NT 545.00

PROSPECTIVE MARSHALL’S FEE ` S40.00

NC|TICE OF INQUEST SU.OO
TRANSCRIPT & DUCKETI'NG S0.0U
§l 3 Q.Q{l

TOTAL 54,715,53

   
 
  

AR.IL`¥' 1315 M.ADE. OR lNCURRED
ME OF THE DEFENDANT TO APPEAR
fn ~ RI:.D AND ANSWERED HEREIN.

' !TIES OF

     
 
 
 

  
 
 

STA TE OF NEW YOR_K, COUNTY OF WESTCHEST ER:
TIIE UNDERSIGNED, ATTUR_NEY AT LAW OF THE STATE OF NEW YORK, ON OF THE
ATTORNEY( S} OF R.ECORD FOR THE PLA[NTIFF(S) m THE ABOVE ENTITLED
ST ATES THAT THE DISBURSEMENTS ABOVE SPECIFIED HAVE BE *"'~i OR W
THER.EIN AND ARE REASONABI_.E IN AMOUNT: UPC)N FAILURE di
AND ANS\VER HEREIN HAS EXPIRED AND THE SAID DEFEND A
"I`HE UNDERSIGNED AFFIR_MS THIS STATEMENT TC| BE T ~ ¢¢
PERJURY. br
DATISD: WES`I`CH ESTER‘ NY ------------------- _- --» ------------------------
4116/2009 KAV L J"& ssocm'res. P.C.
BY; GARV KA L,ICH, ESQ_
30 CHURCH R.EET, SUITE 26

JUDGMENT ENTERED ON NE\V RQCHELLE, NY 10301
SERVICE OF SUMMONS AND CDMPLA[NT IN TH]S ACTION ON THE DEFENDANT{S]
l-IEREIN HAVING BEEN COMPLETED ON 1219/2008 WlTHl'N THE CITY OI" NEW "Y'ORK ON 'l`HA'l` IJAY AND MORE Tl‘IAN 20
DAYS

HAVING ELAPSED.

I?»Y FlL[NG ON SAID DAY OF I’ROOF OI: 'I`HE SERVIC`E TI"{ER.EGF BY SUBST[TUED SERV[CE ON DEFENDANT(S}
AND MORE 'I`HAN 30 DAYS HAVINU ELAPSED SlNCE 'l`i"lli DAY OI" COMPLE'I`ION OF SER.VICE AND THE TIME OF SAID
DIEFHN[DANT(S) 'l`O AFPI"EAR AND A'NSWER HAVI`NG EXI’IRED, AND

NO\V ON MO‘l`lGN OF KAVUL!CH & ASSOCIATES, F.C. ATTORNEY[S} FOR THE PLAlNTIFF(S) IT IS. AE|.IUDGED THAT
1343-45 Prospecl Reulty
RESID|NG AT: 1343 Prospcct Avenuc Bronx, NY 10459
ILECTOVER OF Abdou Gaye
[{ESIDI'NG AT: 325 E. 1701115£1'¢¢¢/\[)1, 413 Brt:lnx. NY 10459‘1331
'I`l'{E SUM Ol"` SZ,QUO.DUWITI‘I lN'T[".RES'I` OF $1.635.63 MAKING A 'I`OTAL OF $4.535.63_'I`UGE'I`I'EER Wl'I`f‘l 5130.0{] COSTS AND
DISBURSEMENTS, AMOUNTING IN ALL TO THI§ SUM OF 54.715.53 AND 'I`HAT PLAl`NTIFF I'IAV[". EXECUTION THEREFORE.
SECOND AND THlR.D CAUSES OF ACTION AR_E HEREBY WAlVED.

 

CLERK

F’ege 13

 

Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 14 of 54
113 ClTY 01* NEW YGRK

_.~1`)(
,d` Realty
PLAINTH"`F(S) AFFIDAV|T DF FACTS
CONSTITUT|NG '1`1‘111 CLAIM
AGAI'NST 'I'HE DEI:AULT AND THE
4[:»"" AMOUNT DUE
' Geye
§Md DEFEN[JANT(S)

1

 

M§§TATE OF NEW YORK COUNTY OI-` WESTCHESTER

rioSS: GARY KAVULICH, ESQ. HEREBY DEPOS}ES AND SAYS UNDER THE PEN!-\LTIES DF FURJ'U`RY, THAT DEI’ONENT IS THE
AT'I`ORNEY FOR THE PLA!NTIFI-`(S) IN THE WITH[N ACTION; THIS ACTIC|N WAS COMMENCED BY SUBSTI'I`UED SERVICE
OF THE SUMMONS AND COMPLAINT UPON DEFENDANT{S) AND [S AN ACTION FOR R_ENT DUE AND OWING FOR (AF'I`ER
API’L|CA'I`{ON OF PAYMENT AND SEC`URITY DEPOSIT}

September. 2002 5725.00

Ociober. 2002 $725.00

Novembcr.ZOOZ $725.00

Decembor. 2002 $725.00

A“l` “l`HE AGREED MONTHLY RENTAL OF $725.00

ALL OTHER CAUSES OF ACTIDN AR.E 1-'1ER.EBY WAIVED AND D]SPOSED. AF`[`ER A COMPLETE AND THOROUGH
INVESTIGATION THE DEFENDANT 13 FOUND NOT TO BE 1'N THE MILITARY AND R_ESlDES WITHl'N THE CITY OF NEW
YORK_ REN'I` WAS `NC)T I`-‘MD IBY ANY O’I”HER SOURCE. l MAKE THIS AFF|RMATION UPON lNFORMATlON AND BEI.IEF. A

BEL!EF PRED]CATED UP‘ON CONVERSATIQNS WI”I`H MY CLIE,N’I`, MY INVOLVEMEN'I` IN “I`HE PROCEI€DING AND READING
THE FILE l'N THIS CASE.

SEC`OND AND TH[RD CAUSES OF ACTION ARE HEREBY WAIVED.

   
 
 
   

SZ,QO0.0DWITH INTER_EST FROM

 

mvuucblé%§socm'rss, I>_C.
BY: GARY 'VUL.ICH, ESQ_

30 CHURCH STR.EET, SUITE 26
Nl§w m)Cr»Il-:LLE., NY 10301

TO THE DEFENDANT(S): PLEASE 'I`AKE NOTICE Tl-lAT THE WITHIN lS A TRUE COPY OF A JUDGMEN'|` MADE AND
ENTERED IN THE WITHIN ENTITLED ACTION AND DUI_.Y FILED IN THE DFF[CE DF THE`. CLERK OF THE COUNT ON

DATED: WESTCHESTER, NY YC`)URS, ETC..
4/16)‘2009 A'I'I`ORNHYS FOR PLAINTIFF
STATE OF NE,W YORK, COU'N'[`Y OF SS:

BEING DUL,Y SWORN, DE["QSES AND SAYS', '1`HAT DEPONENT 13 NO'I` A PARTY TO THE ACTION, IS OVER 18 \'EARS OF AGE
AND RES]DES IN

'I`HAT ON DEPONENT SERVED A TRUE CGPY OF '1`1‘113 WITl'IfN JUDGMENT AND NOTlC-E OF ENTRY THEREOF
(EACH OF) THE FOLLDW]NG NAMED DEFENDANT(S) AT 'T`HE AI`JDRESS(ES) INDICATI‘£D (FOR EACI~!):

BY DEPOS!TING SAME ENCLOSED IN PDSTPAID PROPERLY ADDR.ESSED WRAPPER(S). l`N -A PGST OFFICE- OFFICML

DEPOS]TORY UNDER THE EXCLUSIVE CARE AND CUS'I`ODY OF THE UNITED STA'l`ES POSTAL SERVICE W[THIN NEW
YDR_K ST."\'[`Ed

SWDR_N TO BEFOR_E ME C|N

 

Case 1:16-cv-02134-ALC Do_Cument 86-47 Filed 08/18/17 Page 15 of 54

`»"1'11'£ (_`.ITY OF NEW YOR_K

 

 

l`.¢:f)~t:-c
_.,~"- -------------------------------------- 1N1:)Ex No. ss)s%ros
l*Jvéct Realty,
PLA:NTIFF($) AFr=loA\/l“r ol'=
MAII_.YNG OF ADDITIDNAL
.AGAINST- N<:)TICE oF sun
DEFENDANT(s)
s‘rATc-: oF lew volm;

COUN'TY Of-` WESTCHESTER) SS:

GARY KAV`ULICH, ESQ., BE[NG DULY SWDRN IJER_EBY DEPOSES AND SAYS:

1. I AM THE ATTOR_NEY FOR THE PLAINTIFF(S) 1~1ERE1N.

2. THE ABOVE ENT|TI_.ED AC`T[ON 13 AGAINST A NATURAL PERSON AND IS BASED
LJPON NON PAYME`NT OF A CONTRACTUAL OBLIGATlON.

3. ON l 117/2008.1 MMI..ED A COPY OF 'I`HE SUMMONS AND COMPLAI`NT IN Tl~lE ABOVE EN“I`ITLED ACTION BY DEPO§|TING
Tl-IE ENVELOPE(S) IN AN OFFICIAL DEPGSITC\RY UNDER 'I`HE EXCLUSWE CARE AND C'USTOD‘(' OF THE U.S, I’OSTAL
SERVICE WITHYN NEW YORK STA'I`E. SAII') MAILING WAS BY FIRST CLASS MAIL IN A POS'[`}’A!D ENVELOPE(S). PROPERLY
ADDRESSED TO 'I`HE DEFENDA`NT(S), 'I`HH ENVELOPE(S) BORE T["IE LEGEND

*‘PERSONAL & CONFIDENTIAL" AND THERE WAS NO INDlCATION ON THE OUTS!DE OF '1`1~113 ENVELGPE(S) THAT THE
COMMUNICAT[ON WAS FROM A`N A'I"I`ORNEY OR CONCERNED AN ALLEGED DEBT. A'I` DEFENDANT(S):

~- ~ --I_..»"-\S`I' K.NOWN ADDRESS AT: Abdou Gaye: 825 E. l70th Street Apt. 413 Brdnx, NY 10459‘1331

~~~~~~~ PLACE Ol"` EMPI.OYMENT AT:

THE ENVELOPE BORI`£ '1`1'11".` LEGEND “PERSONAL &'. CONF]DENT[AL" AND 'I`HERE

WAS NO INDlC`ATICF`N ON “1`1'113:§ OUTSlDE OF TI‘[E ENVELOPE TI“IAT THE

COMMU`N[CAT[ON WAS FROM AN A"I'I`ORNEY OR CONCERNED AN ALLEGED DEBT_

~~~~~~~ A KNDWN ADDRESS OF THE DEFENDANT AT:

THIS ADDRESS IS NOT THE RESIDENCE DR PLACE OF EMPLOYMENT OF THE DEFENDANT.

'1`1~11£ AFOREMENTlONED MA|LING:

    
 

HAS NOT BEEN R_E'I`URNED UNDEL|VERABLE BY POSTAL §ERV{CEE.
------- WAS RETURNED lfNDELl\/ERABLE B‘A' FOSTAL SERVICE AND -` -' -w . IEFENDANT AT:

SWORN T
ON 'I`HIS

 

Mmh¢w N. human
Nohry Puhlic - Sht¢ ol`N¢w York
No: UZKMM
Quli£ied ix Wm:huter County
My Commksion Expir¢s - April 13, 2013

 

Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 16 015___4__

“`rt-lt-, ett'~r or t\.':-:i\ voice

  
 

_to?~.':x'
dr--»------~--~~»~'tr index wo;
_,-tr FtLE No: assn
__pt$rospeet Reoit_\g. PLAlNTlr-'F,
§ ada inst . AFFteMATtoN otr F.-tc:“rs
§ CDNS`[`I"IU'I`TNG THE
` on Ga).--_\_ DKFI~`.N I'}AN'I'{F»`; AMOUNT D|.JE

 

.--t.----» ..-»--t- - w-FM-"m-»-Hmmmmm _

,Z;/fe,q /%/{f?'€/‘t if

herel:,\yr deposes and says under the penalties of perjury, ss:
That deponent is the managing agen of 134' 445 F'respet:t Realg, Piaintiff in the within aotion; this action was
commenced by substituted service of the summons and Cornplaint upon defendant(s) and is an action for
breach of a lease agreement in the amount oiftlZ‘-ttid ot for the months oi`

September 2002 through and including Deoember 2002 at the agreed monthly rental amount of
$725.00 per month; (after application of seourity and after application of paymenta) no part having been
paid, although drerl demanded Ail other causes of action are herel:\§itl waived and disposed of. After a
complete and thorough investigation as | have been informed by Plaintifi ' s oounse!, the defendant(s)
isfare found not to 'oe in the military and reside(s) in the City of New Yorl<. Rent was not paid by any other
source l make this affirmation upon personal Knowledge.

WHEIREFORE, Plainttfr‘ demands judgment against defendant for seasons with interest from Attgust i_. 2002
together With oosts and disbursements of the action.

oatse: essence ;"_”,__Q§:k_
MP~A__

Sworn to before me H / />>_
onthts/éiday of/;j,u.¢._, ?.~=/"‘B’ /___/€ frey ¢" Mrc’ d

 
      

_____ ii- ftth {3_ i_ai_t,_";_[_; E
Notary Publio _ ___ - v =-:\‘__[~_.'_e‘wvsrs

 

.-:.-.:ttt.l i"~' ail-‘-r {_`.tjt.tr`lt
weil Esprres danuary 21,,.?1'56§

F’age 16

Case

 

l;t`*l‘ or 'i‘tts CITY oF Naw Yortr;

 

 

,..:or ertoi~lx
_;"-" -------- »»»»» X
_,¢‘5 prospect Rt:aity,
j ltttlr:x No. 89896/08
_Pt-‘” title No. sane
___ir° Plttintii`t`,
,§"` .agsinst. ranging vrr on
§§W lNVES'l`[C-A'!`OR

Abdou thyc
Dttft:ndtmt{s].

........................ .. x

ST`ATE CJF NiiW YCJRK )
)SS.:

COUNTY OF WESTCHESTER )

I am ovcr 18 years of age. am not a party to this action and reside iri Wcstchestcr Courtty,
State ot`New 't’orit.

I have been requested by Ktwulich & Associatcs, P.C. attorney for the Piaintift`, to make
nn investigation to ascertain it' the Dt:l`cnciaht(s) Al:)doti Gayt: is itt the present
time in military service t'or the purpose ci` entry ct`judgmcnt.

Cln April 16. 20091 I Dcnise Mirandn, contacted thc Dot"nnsc nmnpower Dato Cemer
concerning lite Dcfcndant Abdou Gnyt: military status.

1 inputtcri the social security numbet'. its provided by the Det`cndttnl. into the Dct`ensc
Mztnpt;iwer 1)aia Center,

Undt:r the Dt:l`erident's social security number I received an affidavit From the Dl:i'ense
Manpowttr Data Ct:ntt:r stating that the said Defttndartt is not t:um.'ntly in lite m`iitar)ll

service ofthe Uniled Stalt:s and the Siate oFNew York(((§@ Gurtrd).

D`t?irist:‘i€?iiritnda

 

Sworn to before lite lhi

 

Mltthttw N. hilton
history lillth - BM¢ umw Yudt
No: WKAM
outlined in Wutchu¢¢r Collly
My Commissiolt Explm - April 13. 2013

Page 17

Case 1:`1€“5“-;v-OZlS4-ALC DQCument 86-47 Filed 08/18/17 Page 13 of 54

,iT or 'rHi-: cirv oF uaw vt:nnc

 

or cannot
`__.\.`. ------------------------------------------------- X
4§ Pmspect Realiy.
meet No. sessions
Jj-:-“’” ‘ site No. sane
fv""" eminent
<},,ii`i -against» AFFIDAVIT OF
,¢_ ` INVESTIGATOR
¢§.iil' Abt|ou Gaye
‘ Dcfcndant(s)_
..“.._......__. .....-. X
S'l`ATE OF NEW YORK. )
)ss.:

COUN‘T`Y OF WESTCHESTER )

l am over 18 years oi`age, arn not a party to this action and reside itt Westchester Connty,
State oi`New Yorl~;.

1 have been requested by Kavuiich & Assneintcs, P.C. at'tcntcy for the Plaintii`i“, to make
an investigation to ascertain iftlte Dcfcndant{s] Abdou Gayc is tit tltt: present
time in military service for the purpose ofcnl_t‘y ofjltdg,t'ncnt.

On Aprii lé, 2009, l Denise Miranda, contacted the Del`ense manpower Date Certter
concerning the Def`endant Abdon Gayc military status.

I inptttter.l the social security number, as provided by the Del`cndanl, into the Dt:l`cnsc
Manpcwer lData Center.

Ut\der the Dei`endanl"s social security rtttmbcrl received an affidavit from thc Dci`t’:nsc
Manpo\ver Date Center stating that the said Del'endant is net currently in the military
service ofthe United Slates and the State ol'NcW York ( ' ton

 
 

 

De:tiiae'i€d'iranda

Sworn to before tn`e titi
/i( Da ol` ---

 
 
   

, 2009

Nutary `

Mntthew lii. lint-ll
Not¢ry li’tthlie - SM¢ tiwa Yurk
No: BZKMM
Quliilied itt Wuliehe¢ter Collty
My Cemmissioo Expim - April 13, 2013

Page 18

 

CaSe 1: -CV-O y - OCumen - le y age 0 54
.ilitary Status. l Page l ofi

_.ient of Defcnse Manpower Data Center APR»io~ZOOQ 11141:36

 

 

 

 

ii 45 Last blame Firstfh'liddle Iicgin Date Active Dttty Status Servicengency

CiA`t/"li .-’-\BDOU biased on the information you have fttrnishecl, the DMDC does not possess any
information indicating that the individual is currently on active duty.

 

 

 

 

 

 

Upon searching the information data banks of the Department of Dei`ense Manpowcr Data Ccnter, based on the
information that you provided, the above is the current status of the individual as to all branches of the
lVlilitat'y_

wasn ta¢t,»oa~

Mary M. Snavcly»Dixon, Dircctor

Departmcnt ot`Det`ense - Manpower Data Ccnter
1600 Wilson Blvd., Suite 400

Arlington, VA 22209-2593

 

The Det`ense Manpower Data Center (DMDC) is an organization of the Department of Det`ense that maintains
the Defense Entollment and iiiigibility Roporting Systent (DHERS) database which is the official source of
data on eligibility for military medical care and other eligibility systems

The i.`)epattn‘tent of Defensc strongly supports the enforcement of the Servicemembers Civii Reliet`Act [50
USCS Appx. §§ 501 et seq] (SCRA) (forrncriy the Soldiers' and Sailors' Civil Relici`Act of 1940). DMDC has
issued hundreds of thousands of "does not possess any information indicating that thc individual is currently on
active duty" responscs, and has experienced a small error rate. Irt the event the individual referenced abovc, cr
any family meniber, friend, or representative asserts in any manner that the individual is on active duty, or is
otherwise entitled to the protections of the SCltA, you are strongly encouraged to obtain further verification of
the person‘s active duty status by contacting that person's Military Service via the "dei`enseiink.mil" URL
provided below. if you have evidence the person is on active-duty and you fail to obtain this additional
Milital”y Service veritication, provisions ol`tltc SCR.A may be invoked against ycu.

lf you obtain further information about the person { c,g.. an SSN, improved accuracy of DOB, a middle name),
you can submit your request again at this Web site and we will provide a new certificate for that query.

'l`his response reflects current active duty status only. For historical infortnation, please contact thc lviilitary
Service SCRA points~of-contactr

See: h_tta.?ttw.uftv,.de,.fc.u.s.e_l_inlt..tn.il.i_i.fantai_sti.’_§?iii?.S_I=_i?l_i..\-\_l.t_ti_tt_l

WARNING: 'l`his certificate was provided based on a name and Social Security number (SSN) provided by the
requester_ Providing an erroneous name or SSN will cause an erroneous certificate to be providedl

Report lD.‘I‘“IWNB TIW_PZ

Page 19
littps://\vww.dmdc.osd.mil/scrafowa/scra.prc_Sclect 4!16!2009

Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 20 of 54

crrv or saw voltl<

silva
rt,AlNTlrr(s) arl=ionvrr or rac'r.s
cons'rn'u'nno nut cLaJM
AGAINST nut barnett Ann 'n-ts
AMOUN‘I' colt

a
c
j DEFENDANT(S)

.\_:.:`""i\ li OF NEW YORK COUNTY C)F WESTCI"IESTER
` ‘GAI?.Y KAVULICH. ESQ. l'lEREl?-Y DEPOSES AND SAYS UNDER Tl'li't` PENAI,TFES OP PURJURY, THAT DEPONENT lS THE
|"TORNEY l"`OR. Tl'IE PLA[NT|FF(S} lN 'l`l-IE‘. WITI-lI`N AC’l.`lON; 'I`HIS AC'I`ION WAS COMMENCED BY SUBSTITUED SERVICE
""l`i'l[i SUMMONS AND CDMI*LAINT UPON DEFENDANT(S} AND IS AN ACTION FOR REN'I` DUE AND OWING FDR (AFTER
’PLICAT|ON OF PAYMENT AND SECURI'I`Y DEI’OSl'l`]

ptcntbcr, 2002 3725.00 '

:tober, 2002 $?25.00

ivetnber. 2002 $725.00

:ccrnbcr, 2002 $725.00

[`Tl'lE AGREED MONTI-ILY RENTAL C|F 5725.00

`JL OTHER CAUSES Cll" ACT]ON ARE l'lEREBY WAWED AND DISPC)SED. AF"I'ER A COMPLETE AND '['HOROUGH
iVE.STlGATtClN THE DEFENDANT iS FOUND NOT TO BE l'N THE MILITARY AND RESlDES WITH[N THE CITY OF NEW
.')R.K, RENT WAS NDT PAID BY .‘\NY D']`H ER SOURCE. l MAKE 'l`l-IIS AFFIRMATION UPON INFOR.MATION AND BELIEF, A
E.LlEli PREDICATED UPON CONVERSATIONS Wl'l`l‘l MY CLIEN'I`. M't' INVOLVEM EN']` IN 'I“HE l’ROCEED[NG AND R.EADING
‘lE FILE m THIS CASE.

ECOND AND "T`HIRI) CAUSES OF AC'I`lON ARE I'IEREBY WAIVED.
WHEREFORE DEPONENT DEMANDS JUDGMEN'I` AGAINS'I` ‘

 
  

 
  
   

l $2,900.00WI”1'H INTEREST FROM

 

america h §octarss, P.c.
BYI GARY Vl..iI.-»ICH\, ESQ

30 cannon srasar, suits 26
uaw aoct-tsLLs, NY main

) 'l"HE DEFENDANT(S): PLEASF. 'f'AKli NO'I`ICE 'l`HA'I` '1`HE WtTHIN IS A TRUE COPY OF .A JUDGMEN“!` MM)E AND
~JTERED lN 'l`l~I[". WITI'IIN ENTITLED ACTION AND DULY FILED IN THE OFFICE OF THE CLERK DF Tf“IE COUNT ON

ii.']`EIJ: WESTCl-IESTER, NY YDUI"~S, ETC.,
4/16."2009 ATTORNEYS FOR PLAINTIFF
`ATE OI" NEW YORK. COU`NTY OF SS:

EI`NG DUI..Y SWORN, DEI*OSI:`.S AND SAYS; 'I`HAT DEPONENT iS NOT A FARTY TO THE ACTION. [S OVER lB YEARS OF AGE
~lD RESIDES lN

IA'I` ON DEPONENT SERVED A TRUB COPY Oli THE WtTHIN JUDGMENT AND NOTICE. OF ENTRY THER.EOF
ACH OF) THE FOLLC|WING NAMED DEFENDANT(S} AT THE ADDRESS(ES) INDICA'I`ED (FOR EACH):

." DEI’OSIT]NG SAME ENCLOSED I'N PUSTPAID I’ROPERLY ADDRESSED WRAPPER(S), IN ~A PClST OFFICE- OFFICIAL
ZPOSITORY UNDER 'I`l-llli EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POSTAL SERVICE WlTHl'N NEW
)R.K. STATE.

UORN TO HEFORE. ME ON

Page 20

Cas_`

 

 

  

 

§_n env or new voice
at
pt mass No. seasons
' cali .
f y
j PLAn~tTirrrs) arnoavtr or
.\ norma er mcmann ,
.Acnn~tsr- series or star §
csrawnan'r(s)
trans or new voice

:OUNTY OF WESTCHES'I`E.R) 535
GAR"Y KAVULICH, ESQ., BEI`NG DULY SWGRN HEREBY DEPOSES AND SAYS:
. I AM THE ATI`ORNEY FOR THE PLAI'NTIFF{S) I“IE.REIT‘J. l i

!. THE ABDVE ENTITLED ACTION IS AGAINST A NATURAL PERSON AND IS BASED
JPO`N NON PAYMENT DF A CONTR.ACTUAL UBI,.IGATIGN.

l. ClN l 11'7/2003,! MAILED A COPY OF TI'{E SUMMONS AND COMPLAWT IN THE ABOVE ENTITLED ACTION BY DEPOSITI.NG

fHE ENVELOPE[S) l'N AN OFFICIAL DEPOSITORY UNDER THE EXCI,US[VE CARE AND CUSTODY OF THE U.S. POSTAL
§ERVICE WITHIN NEW YOR.K STATE. SAID MAILING WAS BY FIRST CLASS MAIL lN A POSTPAI_D BNVELOPE(S), PROPERLY

\DDRESSED TO THE DEFENDA`NT(S), THE ENVELOPE(S) BORE 'I`HE LEGEND

‘PERSONAL & CONFIDENTIAL" AND THER_E WAS NO IND!CATION O`N THE OU'I`SlDE OF 'I`HE ENVELOPE(S) 'I`HAT TI~IE
:OMMWICATION WAS FRDM AN A'I'I`ORNEY OR CONCERNED AN ALLEC`¢ED DEBT. AT DEFENDANT(S):

X-»LAST KNOW'N ADDRESS A.T: Abdou Gaye: 825 E. 170th Strect Apt. 413 Brcnx, NY 10459-1331 §
------ P LACE Ol"' EMPLDYMENT AT:

`HE E'NVELDPE BOR.E 'I`HE LEGEND “PERSONAL & CONFIDENTIAL“ Al~lD THERE
VAS NO H\JDICA'I"ION ON THE OUTSIDE OF THE ENVELOI*E THAT THE
ZOMMUNlCATION WAS FRC)M AN ATTORNEY OR CONC`ER_NED AN ALLEGED DEBT.
~~~~~~ A KNOWN ADDRESS OF 'I`I~IE IJEFENI)ANT AT:

`HIS ADDR.ESS IS NOT THE R.ESIDHNCE OR PI.ACE OF EMPLOYMENT OF THE DEFENDANT. .

'HE AFOR.EMENTIONED MAILING:

 
  
  

-» HAS NOT BEEN RETUR.NED UNDELIVERABLE B'r' FOSTAL SERVICE.
----- WAS RETURNED WDELIVER.ABLE BY POSTAI.. SERVICE. AND - § ' § \EFENDANT AT:

WOR.N T BEFORE M
'N 'I`HlS

7/.¢7,/?

MIMW N.. lilan
thlry Plltllc - St¢tc aime fork
Na: UZKAGZOMPZ
Qulificd in chc|te¢tcr Couty
[y Commlnicl Explrc¢ - Aprll 13, 2013

  

Page 21

 

/idcn‘v or haw vista `
_, - »»-x . innsx i~io;

    

_ rii.s No: sara
_, ci acaliy, Pi.riii~iriri=,
-Aoaii~is i'. Ai=riiiiviarioi~i or tracts §
consrnnrii<o ran
osi¢si~lrmi~ensi amount bus

lifted /%’j#/e’/‘t //

hereby deposes and says under the penalties of porjury. ss:
iat deponent is the managing agent of 1343-45 Prospect Realty, Ptaintitf in the within action; this action was
immenc.ed by substituted service ot the summons and complaint upon defendant(s) and is art action for
each of a lease agreement in this amount cf :ll‘-i.fti>l.t.iio for the months oil '
;Septeinber, 2002 through and including Dseernber. 2002 at the agreed monthly rental amount of
'25.00 per montb; (atter application of security and after application of payments) no part having been
iid, although duly demanded Alt other causes of action are hereby waived and disposed of. Atter a
imp|etsi and thorough tni.iiastig.ationl as t have been informed by P|aintltf ' s counse|, the defendant(s)
lane found not to be in the military and reside(s) in the Clty of New Yorlt. Rent was riot paid by any other
iurce. t make this affirmation upon personal Know|edge.

l'HEREFORE, F’lairitiff demands fudgms»nl against defendant for SZ.'iOtt.cc with interest from Augusi 1, 2002
gather with costs and disbursements of the action.

t
l

cited : 014/2008

.lvorri to before me
i this/C)day otgfla¢ ., 3~¢”""5"

          

…'it"’i‘@it“”`i'i' "`

l . . F i:o.ic, ._i also Ne

gla'»y Pubilc § i\ii.l. UEBl.'i§UYltsl-BDW York
‘_ ” i~=i.‘:ir~:d in tt.'oslchssler County
.c.n...ii¢ssioii Explres January 21 3

gaf

 

Page 22

Cas___e` 1:16-cv-02134-A_LC Document 86-47 Filed 08/18/17 Page 23 of 54

 

   

 

gtsz “I`HE CITY DF NEW YORK
ylrattol\tx
a X
k ` spect Roall.`y,
lnclex No. 89896/'08
File No. 3860
Plaintit'l`,
“agi*i“-"»f" M
W
Ahdou Goye
Det"ondant(s).
------ X
STA'I`E OF NEW YDRK )
)SS.:

COUN'I`Y OF WESTCHESTER )

l arn over 18 years ofage, am not a party to this action and reside in Westchester County,
State et“ New Votk.

l have been requested by Kavulich & Associates, P.C. attorney for the Plaintit'f, to make
an investigation to ascertain it` the Det`endant(s) Abdou Gaye is at the present
time in military service for the purpose of entry cf`judgment.

On April 16, 2009, l l`."Jcnisc Miranda, contacted the Dct'ense manpower Date Center
concerning the Defendant Abdon Gaye military status.

I imported the social security number, as provided by the Defendnnt, into the Def`ense
Msnpower Date Ccnter.

linder the Dei`enriant's social security number I received an affidavit front the Def`ense
Manpower Date Ccntet stating that the said Defendant is not currently in tire m'lit;n-y
service of the Unitecl States and the State ofNew Yorlc( ton Guard),

  

 

DenieeMiranda

 

lthtthew N. liable
avery rubin . sue ann torts
Ne: BIKAGIBMJ
Qulilied il Weltt:lutel' Coll¢y
My Commisaima Exptm - Aprll 13, 2013

Page 23

  
  

Case_r
fry Status. _ Pagc l ol`l

,,

_ fiat llici’cnse Mzinpowcr l`)ata Cciitcr Al’I{-lG~ZtJOS' 11141:36

   
 

' t Mi_litnry Stittus ltcport
l’ursuunt to the Scrvicemombcrs Civil Rclicl` )\ct

 

 

 

l.iuil Niune l`i`li'sti'Mltldlc llcgln l`)rttu Activc l)uty Status Scrvicci'Agcncy

i" t`fii\\’l`£ ABDOU biased on the information you have t`urnishcd, thc DMDC does not possess any
inl`onnrition indicating that thc individual is currently on active duty.

 

 

 

 

 

linen searching thc information data banks ol` the Dcpartment ot` Dci`ense Manpower Data Ccnter, based on the
interruption that you providcd, thc above is the current status oi` the individual as to all branches of the

winn seasons

Miuy M. Sit:ivciy~Dixoti, illircctor

ljopiirtnicnt ol` Dcl`cnsc - Manpowcr Data Ccntcr
1600 Wilson Blvd., Suitc 400

Ariingtcn, VA 22209-2593

 

't`hc l)cl”cnse Manpowcr Data Ccntcr (DMDC) is an organization of the Dcpartmcnt ofDet`erise that maintains
the Dcl`onsc l,`inrolhncnt and Eligihiliiy ltcporting System (DEERS) database which is the official source ot`
data on eligibility i`or military medical care and other eligibility systems.

’l"lie lIJcptn‘tmcnt ol" Deicnse strongly supports the enforcement oithe Servicememhers Civil Rclicl`Act [50

t_IS(f.‘S Appx. §§ 501 et scq] (SC`RA) {forrncriy the Soldicrs' and Sailors' Civil Reliet`Act ot“ 1940). DMDC has ,
issued hundreds ol' thousands of` "does not possess iiiiy information indicating that the individual is currently on i
active duty" responses and has experienced a small error ratc, lrl the event the individual referenced above, or g
any family niombcr, i`t'icnd, or representative asserts in any manner that the individual is on active duty, otis
otherwise entitled to the protections of the SCRA, you are strongly encouraged to obtain further Vorif'tcation of t
the persons active duty status by contacting that person's Military Scrvicc via the "dei`enselinlr.mil" URL
provided bclo\v. ll`you have evidence the person is on active-duty and you fail to obtain this additional
Militiiry Scrvicc verillcation1 provisions ot` the SCR.A may he invoked against you.

il` you obtain l`urtlicr information about thc person ( e.g., an SSN, improved accuracy of DOB, s middle name),
you can submit your request again at this ch site and we will provide a new certificate t`or that query.

"l'liis response rcllccts current active duty status only. l"~`or historical infonnation, please contact the Military
Scrvicc SCRA poiiits-ct"-contact.

Sci=: liitti.:._/hvii:._\r.trlnis..ttss_l.i.nlttentli.l`.tisin.isili’_£lil_tl_‘~iLD_fi.-.ltiml

WARNING: rl`liis ccnilicatc was provided based on a name and Sociiil Security number (SSN) provided by the
rcquostcr. l‘roviding on erroneous name or SSN will cause an erroneous certificate to bc provided

chdri !D.‘I"i' Fl"i\'l'.¢ T! li"!’}i'

Page 24
hitps://\vww.thndc.osd.niili'scrafowa/scra.prc _Sclcct 4;1 iri/gong

 

Civil Court of the City of New York 1aan Numt»¢r 09 ?F? IS"O¢?

 

 

 

 

County of £D/'])\ Motion Cal. # Motion Seq. #
Part
DECISION/OR.DER
» i?/J"'“' £) Recrunton. as required by CFLP. 522 19 tat. of the papers
/ 5 y 3 FDMF"£' &'Wé'? considered in the review ofthis Motton'
Flpcrs Numbered
Claimant(s)fFla.intifl`(s)fPetitionerts) nance ar trauma ma Arname nnn:xea .........
against C)rder to $how Cms: md Atildav`trs Anncircd .....
A|t$wcr"mg Aff`|dxvits ..............................
id g g @ assisting amounts .................................
w §2,,/ Eithibit.$ ............................................
fendant(s)/Respondcnt(s) omar ................................................

 

Upon the foregoing cited papers, the Deeision!Order on this Motion to I%“i Cr@?“éw

 

moses e”?e‘ri»t»'t“/ngrj {,¢' A_F}>l?`Dt/R!V._t_:fl) jameson

m Mrz?.; ,,..;...-s..a ~ :~,e: /a-»/t-a,mé;j,sajp¢_

 

 

 

75?.¢ 6 W_':'d> '~=- esa/W§W c ` ' `
estates M ‘“‘ if

.»-=ir» °;.;F-c:"/“@ /Ats Ce~¢,»¢-\-. »-r’{e# /4:.~17§5;1£¢.._.,¢¢ ,Eé:,g: mut &
mistake 231 acme aes-351 M%,J//¢¢ ¢CM`£

 

 

 

`m"""""`f§_~f`?`_`-T§ " `f.":tart
or ":
Cit“v of i"~.: v roth

Nlii.i 111 ?lil:i
ENIMMLU

Hltt)t~t;‘; witter t '_r'

//* /5/"012)/; §§CKM

osr= ¢'raag¢, civil olsen

 

 

 

 

 

 

 

 

 

‘t

 

 

` ' z t
ii 1 : i HCtt‘~itl DAV|D B_ gotten Page 25

Cr\r'-GF-l! theme imm. two

y "mase . - - - - le 31'7 _Page 26 ot`54

WM.»-»a

ClVII.. COURT OF THE C]TY OF NEW YORK

COUNTY OF BRONX:

“““““““““““““““““““““““““““““

1343~45 Pnosrecr naatrv,

-against-

ABDC)U GAYE,

PART 34
................................ §§
Plaintiff,
Defendant.
................................ }i_'

INDEX NO. 39896/08
FILE NO. 3860

AFFIRMATION I'N
0 'I`ION

GARY KAVULICi-l, ESQ., an attorney duly admitted to practice law before the Court of

the State of Nevv Yorlc, hereby affirms under the penalty ofperjury:

1. l am a member of Kav'olich dc Associates, P.C., attorneys for the Plaintiff herein. As

such, i am fully familiar with the facts and circumstances of the within proceeding, except as to

those matters stated upon information and belief, as to those matters l believe them to be true.

The basis of my belief is information supplied to me by my client, information contained within

the court file and information maintained within my office

2. Iinake this affirmation in opposition to the Defcndants ABDOU GAYE’s Drder to Show

Cause which seeks to vacate the judgment in this matter and all income executions against her

and restore this matter to this C`ourt’s eatenclar. Piease see Defendant`s instant Order to Show

Cause annexed hereto as l:`,xhibii *“1.“

STATEMENT Oii` "I`HE l i 1

 

3. The within proceeding was commenced by the Plaintiff against the Defcndani based upon

a breach of a lease agreement for the premises known as 1343 Prospeci .-il.\-‘cnue, Apt. l, Bronx.

NY 10459. matched hereto as Eithjbit “‘2” is an affidavit of the Plainiii"t`s agent1 I-lysen

hdelniietaj.

Page 26

Case 1:1_6-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 2_7 ot 54

4. The Lease Agreement was for a term of one (1) year commencing May l, 2002 and
terminating on April 30, 2001 Please see aforementioned Exl'tibit “2."
5. Thereafter, Defendant defaulted on his rent payments pursuant to Defendant*s agreement

with Plaintiff and allowed a balance to aecrue. Annexed hereto as Exhibit “3" is a copy of the

tenant ledger

6. Upon information and belief_. on or about November 3, 2002, the Defendant vacated the
subject-premises Please see aforementioned Exhibit "2."

7. "l`hereafter, Plaintiff re~entet'ed and re~rented the premises on February l, 2003.

3. At the time of Defendant’s vacatur, Defendant owed Plaintiff for rental arrears in the sum
$2,900.00 representing the months of September, 2002 through and including Decernber, 2002 at
the agreed monthly sum of $725.00. Please see aforementioned E>thibit “2.” Please see

aforementioned Exh.ibit “3."

9. Plaintiff commenced this instant action against Defendant on or about October 16, 2008.
Please see the summons and complaint in this matter amte.\ted hereto as Exhibit “4~” Please see
the corresponding affidavit of service annexed hereto as Exlu`bit “5."

10. 'fhereafter, the Defenclant failed to interpose an answer to said sunnnons and complaint

ll. As such, the Plaintiff obtained a default judgment in the amount of $-'1,769.77 that was
entered on April 30, 2009. Please see a copy ofsaid judgment annexed hereto as Exhibit “6."

l,?.. Plaintiff then commenced execution measures pursuant to that judgment and on or about
lone 14, 2013, it caused New Yorlt City Marshal Stephen Biegel to serve a lncome Exectttion
upon Defendant Abdou Ciaye`s place of employment

13. Thereafter, on july 23, 2013, the Defendant called your Ai`finnnnt`s office offering to
settle this matter for $l,500.00, Anner-:ed hereto as Exhibit “7" is the affidavit ot" C.`olin

l~t.ingsidaphone, affimtant`s employee

Page 27

 

Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 28 ot 54

14. Thereafter, the Defendant Abdou Gate filed an Ordet‘ to Show Cause seeking to vacate
the ludgment_. which was scheduled for fletcher 10, 2013. Please see aforementioned Exhibit

551 33

15. Cln October 10, 2013, the matter was adjourned to l\lovernber 14, 2013,

16. Plaintiffnow opposes Defendant’s motiott.

Tl-IE DEFENDANT’S INSTANT MC)TIC)N DUES NOT DEMONSTRATE AN
’CUSABLE DEFAULT AND M`ERET R_l DEFENS THEREFC)RE THE
MOTION SHOULD EE DENIED
17. In order to prevail on this instant motion, the Defendant must prove both an excusable
default and meritorious defense as upon showing of both of those prongs, vacating a default
judgment is proper. CPLR 5051(a)(1); flon qum. v. Fdrttcco, 39 ADBd 379 [2d Dep‘t2011]_:
Comtttunit§v P)‘eserve. C'o)'p. t). Bt't‘dgewctre)' condominit¢ttts, LLC., 39 ADBd 734 [Zd Dep’t 201 1].
13. Moreover, should the Defendartt demonstrate a reasonable excuse for the default, a C`outt
must nonetheless uphold the default judgment when the Defendant`s papers submitted in support
thereof are replete with self~serving, vague, unsubstantiated denials, and unsupported legal
conclusions 11 kept tt Ltttlzemn Men’, Cr., 39 ADSd 337 [Ed Dep’t 2011]; Garn! 1'i/ltolesctle)~s, chi.
tt Rovan Brancf.r, Inc., 32 AD?)d 1041 [?.d Dep‘t 2011].

19. lt is respectti.tlly stated to the Coutt that the Defendant has failed to demonstrate both

prongs and that this motion must be denied.

20. ln the Defendants’ affidavit presently before this Court, the Defendant’s defense is as

follows:

a. “l am not the party."
21. Plaintiff Will now address each of those assertions in tum.

22. Defendant’s allegation that he is not the Defendant is incorrectl

Page 23

Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 29 ot 54 _

23. Defendant, when signing the legally binding lease agreement, signed in his individual
capacity the legally binding lease agreement with the Plaintiff over the subject premisesl Please
see aforementioned Exltibit “2.”

24. l\'.ioreover, after receiving notification that his wages were being garnished, Defendant
called your Affitmant’s office and made a lump sum offer of51,500.00 to settle this matter.

Please see aforementioned Exhibit “7.”

25. Tl'terefore, the Defendant fails to meet the standard allowing this Court to vacate a default
judgment as set forth in C`PLR 5051(a](l).

26. As the Defendant fails to set forth an excusable default and a meritorious clairn, and the
Plaintiff continues to suffer from the unsatisfied deht, the Plaintiff respectfully requests this

Court to deny the Dcfendant’s motion to vacate said judglnent.

WHEREFDRE, as no legal ot' equitable basis has been stated or exists, Flaintiff

respectfully asks that this Court deny the instant motion

  

Dated: October 22, 2013
Port Chester, NY

 

/“` .
Kavulich &/Associates,’fli(:`.
By: Ciary l~.’l. Kavulich, Esq.
Attorncy tier Plaintiff
131 \\’estcltester, Ave., Suite 500('.`
Port Chester,NY 1057
(914)355-207-'1

F-’age 29

   

_ _Case 1:15-cv-02134-ALC Document86-47 Filed 08/18/17 Page 30 ot 54

 

t--_.Wg,jr,._i;g:,

EXH[BIT l

Page 30

 

…__"(_;ase`1:15-__0\`/-02‘134-ALC Document86-47 Filed 08/18/17 Page 31 ot 54

Appeara nees are Mttndatory [M(;S;Um L‘l:q'_i;'b

lndex Numhcr ;[hilCV-

§§il§°§fitiiileiill ii m ink 11111111111111111 ll11111111111111111111111{m

ORDER TO SHOW CA USE
To restore case to the calendar, and vacate any
judgntent, liens and income executions on this
defendant on this index numbers
allow proposed answer or dismissing the action

1343~45 PROSPECT REALTY
-againnt-
ABD$U GAYE

 

UPON the annexed affidavit ofABDDU GAYE, sworn to on September 30, 2013, and upon all papers and

proceedings herein:
Let the Claimant(s)/l-"Iaintiff(s) or Claimant($)/Plaintil`lls) attorney{s) show cause at:

13ton C`ivil Cour't . %?QDO

351 Grand Cottcourso
Bruttx, Ncw York10451
Part 34 Room 503

on 101 [O at 9:30AM -
or as soon hereafter as counsel may he hcard, why an order should not be made.'

VACATING the Judgment, and all income executions and restraining noticcs, if any, restoring the case to the

calendar, deeming thc proposed answer filed andfor dismissing the action if warranted, and/ot granting such and

further reliefas may be just.
PENDING thel hearing ofthis Orcler to Show Cattse and the entry ofan Drder thereon, let all proceedings on the
part ofthe Claimant(s)/Plaintifi`(s), Claimant(s)!l:‘lainti'fi`(s) attomey[s) and agentfs) and atty Marshal or Sheriti` of

the City ofi‘~iew Yorlt for the enforcement of said .Tudgrnettl be stayed.

SERVICE of a copy of this Ordcr to Show Cause, and annexed Aliidavit, upon the:

C.`lairnant(sj!i"’laintiff(s) or named attorney(s): Sherifi` or Marshal:
(Jud ctolnilial)

(Ju o nitittl,l
di by Personal Service by " ln l'land Delivery" by Pcrsonal Scrvice by " 111 l~land Dclivery"
_c£,___ by Certif'ted Mail Return Receipt Requested by Certified Mail, Return Receipt Requested

by First C`lass Mejl with official .`Post Oftice by Fitst Class Mail with udicial Post OHice

Certificatg oflvlailing Cer'tificate ofMailing
l ll1133 ,shall bc damned good and sufficient

 

on or before lO,

PROOF UFSUCH SERVICE may ha mall with thc Clcrlc itt lltt: Fnr‘t
indicated above on the return date of this Order to Show Cause.

 

Mail to Artot'ney or party: Slterifl'fl'tiarshol:
N‘r’t',` Marslta|

Gary l'vlichael Kavulich (C_`ounscl for Pltf),
131 WestchesterAi-cnoej Snite 500€_`, Bicgel, Steplt¢n, Marshal .
Port Chester, Ncw Yorlt 10573 109 W 33 Street 1
Suite 200

Ncw i'orl:., NY 1001 3-3615

    

 

Septernher 30, 2013

DA'rE ph E. Capella, L`i vi 1 Court lodge (NYC)

Page 31

 

Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 32 of 54

 

Civil C,,`ottrt .oi`thc City ofNew ‘t’orlt, County ofBronx lndc): it CV-039395~03/BX

l 3 4 3-4 5 PP~OSPECT F~EALTY Afi`tdavit in support ofan order to show cause to
'a'-Jai n$“-' restore case to the calendar, vacate any judgrnent,

35 DOU GA`-'»'E liens and income executions on this defendant on

this Inde)t nuntber,
allow proposed answer or dismissing the action

 

State of “New 1‘tforlt, County of New York:
ABDC)U GAYE,being duly s'.vorn, deposes and savs:
tbct`endant's initiais)

1163 § aj t arn the Parry named as (Deiendant)(Respondottt) in the above titled action /@` I' m rig MO"'FH PAQ'Z]/

 

2. 65 fit n) I have been served with a summons and complaint in this action. {NC)TE: il'Stnail Claims ship #3, and go to # 41
b) l have not been set'ved, and my first noticc.oflegal action was [NOTE: it‘you complete any otazb,

strip #J, #4. #5, and go to #t'r]
a Notiee of Default Jt.tdgrnent mailed to me
a Rcsuaining Notice on my bank account
,{-}I(”§~ a copy of an income Exer:ution served on
Othetj:

a-'__.

  

-m-»-»_--~\

-_m-»_~

 

3. 514 a) l did not appear and answer itt the Cleri;'s Ofi`iee becausc:|l\'OTEt if)'ou complete # Ja, skip and go to #ti|.

 

b) l did not appear and answer in the Clcri:'s Otthe
and l received a data for triot.
but the answer was entered late

other:_£r;;{"ore_r? ai.i¢i’d“,ris'§ {ft/ %r>"€.a>t‘ c!-?»r:» 5 <S*t"r.(rzr"/T_.F

4. t]n the [.`.`rttte ofTriai before .iudgef¢°.rbitrator
a stipulatien(a written agreetnent) was made between claimanu'plaintlft" and defendant.
ajudg,n\ent was entered alter the trial.

 

 

ajudgmt;nt was entered against me lay default for my failure to appear_
C'trher:
5. My reason for not

CM_ complying with thc stipulation is j'\i\':?"($"/J llc
-1‘_-'._*,,_.;'§__. following the order of the Cout't is
appearing in court on the date scheduled i`or trial is
Othcr:

 

 

 

 

,,,,,,,,, ,_4,¢,,4.,.,_,,,.,.,,.._....‘..“........-....--...-.----.---“--.--.“...-"" -"

.`-'6. F iallege that 1 have a good defense because'. 1 7 i"i‘f'i" i/CS" _fi/_i Y l' NG` O /i"'{ t'§* C;'C'e!;"y

 

.____".,,ha..,...........¢....¢......-.---..--”-...-..-".-......-........-"".--""-" .-"--~-.d-\-~\-¢--dq-'-.-"-"-"""-'.-aoh-~Mm¢¢-e\-+»»\-------nunn-loan ~u---------n-n"u'"-r vvvvv

7. _ d'~‘ g a)l have not had a previous Order to Sltow Causc regarding this index nombar.
",g-;.‘§_'*_g\_ b) l have had a previous Ctrdcr to Show Ceuse regarding this index number hot i atn making this application

bccattsc: ltd fcc '

- ------------------------------------- o---u¢-a-.-»¢w~-¥++wm--“ ----u---------"-u------'

fin 3. ,- *‘ i request tltat tire .ludgtttent be vacated, that tlte case bc restored to the calendar, that lite answer he deemed
"-e___,,/L“ timely fried and permission to serve these papers in pcrson.

----- _...... m\»\--"-.-1~no-whence-rsr-¢\w-------~-.,-.¢-----

Sworn to before me this day Septernber 30. 2013 F_ f_
X_/tf (stge alamo dir/fia[.i cer-“r'..&{’
M¢,IQ '~'C»/ naooo csan
titgnatute ei¢`_(,.`ot.trt E.tnpto)"ee and Tt`tic 325 E_ 1‘_70']"1.1 S'[‘R_EET
APT. tiB
BRONX, New ‘t’orlt 10459

Paga 32

 
      

. `L" ' ' "

, . ..\.*‘..-_mp-mm»li§!r\ `

Case 1:16-cv-02134-ALC Document86-47_ Filed 08/18/17 Pa

 

;.»'.-".=.,~.\:}.-a=s;=‘.;:~A.\‘+M-#\'#:\='11*-!'~"’“‘*"""1`".`"".“-f.`" ` ‘ "

EXHIBIT 2

Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/_17 Page 34 of 54 _

CIVIL COURT Oi" THE CITY OF NEW YC|RK
COUNTY OF BRONX

INDEX NO. 89896/08
-- »»X FILE NO. 3860

]343»45 PROSPECT REALTY,

 

 

Plaintii’i`,
AFFIDAVIT il\l
~against~* OPPOSITION

ABDOU GAY,

Defendant.

w uaw .--}<;
STATE OF NEW YORK )
) SS:

COUNTY OF WESTCHESTER )
I, Hysen Mehmetaj, being duly sworn deposes and says:

i. l am the agent for the Plaintift', 1343~45 Prt;:s}:secti;teaity1 and as such I am
fully familiar with the facts and circumstances of this proceeding

2. 'i`he Piaintift" entered into a lease agreement with the Defendant, Abdou Gay
with the Plaitttiff far the premises known as 1343 Prospect Avenue, Apt. l,

Bronx, NY 10459.

The Lease Agreemeut was for a term of cne (l) year commencing May l,

3.
2002 and terminating on April 30, 2003.

4. Thereafter, Defendant defaulted crt his rent payments pursuant to Defendant’s

‘ agreement with Piaintii`i` and allowed a balance to aecrue.

5. Upon information and belief, cn er about Noveml:)er 3, 2002, the Dei`endant
1vacated the subject-premises

6. Thereai`ter, Piaintit`t` re-entered and re-rented the premises on Februar_v i, 2003.

7. Therefore, the Defendant owes the Plaintii`f far rental arrears in the sum $2,900.00
representing the months oi` Sept.ember, 2002 through and including Uecem`oer, 2002
at the agreed monthly sum of 5725.00.

B. Plaintiii` then commenced this instant action against the Defendant to recover the
anears which Dei`endant has accumulated

9. Thereaiier, the Dei`endant failed to interpose an answer to said summons and

complaint.

Page 34

 

Case 1:16-cv-02134-ALC Document 86-47` Filed 08/18/17 Page 35 of 54

10. As sueh, the Plaintii`f obtained a default judgment in the amount of $4,769‘77 mm

was entered on April 30, 2009,

Therefore, the Dei`endants currently owe the Plaintifi" 54,769.7‘7 plus interest from

ll.
April 30, 2009.

A.s of this date, despite repeated demands, the Defendant has failed to pay thi$

balance

12.

Defendant has filed an Order to Show Cause

ve advised me that the
matter to the ealendar.

13. My attorneys ita
aeate the judgment and restore this

which seeks to v
“UEREPOR,E, your deponent prays that the Court deny the instant motion as no legal or
equitable basis has been pt ' ,

       

 

 

NOi'é/t'y PUbHC\___J,//
GARY KAVUL.¥GH
dietary Publlt:, State et New Yorlt
No. URKABRDEMS
Gmalllied ln Westuhester Gounty
Comm|sslen E:tplree l*.'lay 11, 2017

 

 

Page 35

 

Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/1_7 Page 36 of 54

 

EXHIBIT 3

F‘age 36

 

Case 1:16-c_v-02134-ALC Document 86-47 Filed 08/18/17 Page 37 of 54

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

vacancies are any code 1343 rosa 1
, MOVED“OUT C|PEN BALANCE REF-’DF'.T
if 53 69 § ideas PnosF'act asALrY coRP ,,.
ewe,testast.'aa / 52
‘.SCC~ 710 / 03 g o/ n Bromt, N‘t'10450
fm .

untt;t>t ¢_QM /2/92 143 7}7/0}
‘l'onent:ABDCtU GAYE
emoluments/2002-11:0~.:2002 /Hdl/E 9 ll d 95
l|'¢'»EN|:NIBHM#Niidm#ilfllBIIWIHMBBII!!=l-N=:|Ezl:n'd‘::nx:&'::nnnn'lu.unn conniep::::==::;;nzzgggm:gg;===-_--_~::“_.'::;:::ouumzlet:‘_-
Date opening Bel ane Ranl Mlltly Chgs Chocltfi!Descr|ption Receipts Chglt?rd BalDue Mt|t|y DtH

-643117
01118!2002 350.00 0.00 0.00 CABH 350,00 0.00 0.00

360.00
02!01!2002 0.00 920.5`:' -195,|5? Montlt|y Bllling 0.0D 0.00 725.00

»'¢'2500
naminan waco aae.sr »195,57 Montmyemmg dea ace nation

-725,00
03100)'2002 1450.00 0.00 0.00 CASH 725.00 0.00 725.00

?25.00
04)01!2002 725.00 920‘[)? -105.5? Monlh!y Bll||ng 0.00 0.00 1450,00

-7‘2500
041'|2!2002 1450.0'0 0.00 0.00 CASH 725.00 0.00 '?25.00

725.00
05101!2002 725.& 020.57 -195.57 Mt.mthly Eilllng 000 0.00 1450.00

-725\00
051‘17/2002 1450.00 O.l.‘.|C| 0.00 CASH 1000.00 0.00 450.00

1000.0’.`]
08!01!2002 450.00 920.57 -195.57 Munlhly Bl||lng 0.00 0.00 1175.00

-725,00
06121!2002 1175.00 0.00 0.00 cash 700.00 000 425.00

750.00
07101!2002 425.00 920.5? -195.5?` Monll't|y Biliirtg D.t]t] O.D{l 1150.00

-?25.00
07{25!2002 1150.00 0.00 0.00 CASH 740,00 000 410.00

740-00
00/01/2002 410.00 020.57 -195.5? Mt,tnlhly Bll|lrtg 000 0.00 1135.00

~?25`00
00!23."2002 1135,00 0.00 0.00 GASH 750.00 0.00 305.0{)

750.00
08!`31!2002 385.00 920.57 -195‘57 Monlhly Bll|in| 0.00 0.00 1110.00

~725.00
10)‘0‘lf2002 1110 00 920.5? -195.5'1' identth Billing 000 000 1835.00

-725.00
11{01!2002 1835.00 920.57 -195l57 Monlhly B`ll|tng 0.00 000 2550.0'0

-?25 0

:===:===:=:#i'=EE=EIHE=SB=HHH================:'_"-E."&.';»”ll:”»-'II:BEII'¢N:IEllllihvW|=#WJM-'-N“g¢ml=E’-'-==El\==F*~'-‘*$¢¢:==F=E==#=‘-‘|E

 

» ~ ',-d 08/.18/17 , Page lsa-at»»aaweeeef

 
 

EXH]BIT 4

Page 38

 

Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 39 of 54

CONSUMER CR.EDIT TRANSACTION. THIS IS AN A'i"l"i`£i'\thT TO COLLECT A DEBT
AND ANY ]NI"ORMATION C)B'I`AJNED W]`LL BE USED 'l`Cl CDLLECT THIS DEBT.
('_`.‘IVIL COUR'I` OF 'I'HE CITY OF NEW Y'ORK
COUNTY OF BRONX

. nn ---------- x

 

1343»45 Prospect Realt)':
Plaintii`i`, IN`DEX NO.
FILE NO. 335-0

-against-
SLMMDNS
Place of `Venue is Plaintifi"s
place of business:
Abdou Gaye,

1343 Prospect Avenue
Bromt, N'Y 10459

Dei"endsnt(s)

_c_..r .c.. . x

'I`o the above named defendants(s):

YOU A.R.E HEREBY SUl`vIMONED to appear at the CIVIL COURT OF THE Ci'l"i’ OI~`
NEW YORK, COUNTY GF BRON}C at the office either clerk ofthe said Court at 851 Grand
Ccncourse, Brorot, NY 10451, in the COUNTY OF BRDNX, State ochw Yorl»'. within the
time provided by law as noted below and to file an answer to the below complaint with the

DATED: Septernber 10, 2008

 

H.avulich ' Associates, P C.
ritttol'nej)r for Plaintifi`

30 Church Street

Suitc 26

New Rochellc, NY 10301
(st¢t) 355*2074

Del`endant`s Address:
Abdou Gayc

325 E. 170th Street, Apt. 413
Bron)t, N`i" 10459‘1331

Notc: 'I'he law provides thal: (a) Ii` the summons is served by its delivery to you personally
within the City oi`l~iew Ycrlt, you must appear and answer within TWENTY days after such
service; or (b) If the summons is served by any means other than personal delivery to you
within the City of New York, you must appear and answer within THIRTY days after proof ol`
service thereof is filed with the Clcrk oi` this Court.

Page 39

Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 40 of 54

CDh{PLAINT

FIRST ACTION: Plaintit`fseeks to recover damages from defendant{s) for breach of a lease
agreement in the sum oi'$2,900.00 representing rental arrears for the months of Septernber,
2002 through and including Decernber, 2002 at the agreed monthly sum of 5725.00 i`or the
premises know as 1343 Prospect Avcnue, Apt.#l Bromt, 1er 10459 together with costs and
disbursements of this action and for such other and further relief as the court may deem just.

SEQQN'D A(“=TIQN: Plaintiff` seeks to recover damages from the defendant in the sum of 5000
representing damages together with costs and disbursements of this action and for such other

and i`u.rdter relief as the Court may deem just.

THIRD A.CTION: Plaintifi` seeks to recover damages from the defendant in the sum ot"
$500.00 representing reasonable attorneys fees together with costs and disbursements oi` this

action and for such other further relief as the Court may deem just.

WHEREFORE, Plaintif`i` demands judgment (A) on the I"irst Action, in the sum of $2,900.00
plus interest from September 1, 2002 together with costs and disbursements of this action and
for such other and further relief as the Court may deem just, (B) on the Second Action, in the
sum of 0.000 plus interest from Septernber l, 2002 together with costs and disbursements of`
this action and f'or such other and iiirther relief as the Court may deem just, (C) on the Third
Action, in the sum oi`3500.00 together with costs and disbursements of this action and for

such other and further reliein as the Court may deem just.

'i`he Plaintii`f in this action is NOT required to be licensed by the New Yorl: City
Department oi`Consumer Ai`t`airs.

F’age 40 _

_Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 41 ot 54

" ll

AFF[DAVIT Oi" SERV[CE
Ci`i~"`li., CDURT OF 'I'Hii CITY OF NEW YORK index No. 89896/08
COUN'¥'Y OF BRO`HX i-`i|ed:

Attorneys: i¢avttlich E: Associates, P.Cr
Address: 30 Cl:ruroh St'reet, Suite 26, `New Roeheile, NY lDSill Fiie No. 3360

1343-155 PROSPECT REAL.TY,
vs.
ABDOU GA‘¢'E.

 

Stat.e oiNev.' Yot'»: Cotmty ofl.‘~lttssen SS:

w.t\g,st§g‘! Q_ E.vn_ns I], being duly saturn deposes and says'.

Dcpot:t.ent is note party l:¢ereirt1 is over 13 years ofage. On Qgtgg‘g§; |§, §0'0§ et iz'ti§g.m,

At=‘ 515 §§: 17£ §tggg Ag!= dll‘ BronL N'Y 10459 served the within Surnrnons and Complaint

on: ABDOU GA\'E. Det'cndant therth named

individual B_v delivering a true copyl oi`each to said recipient deponent knew title person
n sen'ed to be tire person described as said person dietein.

Cnrporation By delivering to and leaving with end that deponent know the
[ ] person so served and authorized to accept service ott beha.lt'oi' the Corpot‘=ttlon

Su'rt.nbie Age By delivering a true copy ofeach to a person ofst.titabl¢ age and discretion
Pcrson Said premises is recipients [ ] scant place et`t:~usiness [X] dwelling house within lite
[X] state

Aifixi.og lily afii)ring a true copy of each to tire door of said prcmises, which is recipients
to Doot* []ectua.l place of business [] dwelling house (_plaec ol` abodc} within thc state
[]

Mail Copv Ort Qgggr_§_§,_?_®_!j_deponcnt eotttpleted service under the last two sections by
fK] depositing a copyl ofthe Sunsmons and Cotnplaint to the above address in tt i“
Class property addressed envelope marked "Personal and Contidcndai" in an official
rlept:rsitnr,\,l under the exclusive care and custody et`tbe United States Post Oiiice itt the State
oiNew Yorh.
Deponcnt nas unable, with due diligence to tied the n:cipiettt or a person ot` suitable age
and discretion having called t.hen:at:

Ot‘tthc day of at
Ontitc d.a}‘of` at
Ontite day of et

Descriprion A description of the Dcfeadant, or other person served on behalf of the Dei`cnda.nt
{'] Smt: f Color ofsi:in: §§ Color of llan-L§B,M Agc: d'i, -§§l Height: 5'5“ Weight: ]§§LBS

Militet}' Svce Depoaent asked posth spoken w whether the recipient was presently in rriilttar;.,l
[ X] service ortho Un.itod Stntes Govc'rnntcnt or of the Stute oi'Nevr' Yori: and inns
informed that the nscipicat is gg_t. Recipient wore civilian clothes end ao military uniform
Other

[x}njmw Doc"" 5131¢_-£| amf u]g D{,'.f¢!l] dam 15 i:i'i' 111 me military H/M
Swotrt dfort day of /C:?LW v/`g ii / ¢//\7/7
f /mz@ Aston G. Evans ii
i..iC`# ]220069

  

y rt..t g,t£\'.....a‘¢.,.t‘.v.=
r..t,.,'s“.
carter

.[a tit ctif.'..‘i¢'»:ttrsts
C.-.-w C,en ¢i`,.¢ s.ni__!#

 

 

' "'*'m"m"m"-m" ... ' - ' "-"" ------»-»-\ »-
Case 1:16-cV-02134-ALC Document 86-47 Filed 08/18/17 Page 42 of 54

EXHIBIT 6

 

 

- .\r ALC Documem 36-47 Filed 03/18/17 Page 43 of 54
Eronx Counly Civil Court

 

Civi¥ Judgmenl
lnde Number: CV-DBBBQB-DBIBX
y Judgrmanl isauad'. On Defau|t
011 Muu'on of:
Kavu|ich, Gary Michae|
30 Church St S\e 26, New Rochelie. N`f'
1£`|801-
$2-900-00 C=Sf 811 Slaww $20.00 Tmn$¢rrpr m $u.oo
$0.00 |ndex Nurnbcr Fee $45_00 county mark Fee $0.0U
$O.DC' Serv'ma Fao $25.|]0 Enforcenwrll Fee $40.{}0
$1 .7139.77 N°n Mi"fafy $O.UU Ol.her Dlsbursemen\s $U.D{J
$U.UU marine or Triar $0.0D omerr::os\s $0.09
duly Dernand $D.OU
-9.77 Tc»!al Ccrsts & Disbur$ernems 5130.00 Judgmram Tolal $4.?59.??

Idressad and ldentlr'red as creditors below;

.T‘r'
RONX, NY 10459~

arties, addre$se$ and ident|fred as debtors below:

 

35

LE'». BRONX. NY ‘1041|59F

 

; County C':ivil Court, 851 Grand Concourse, Bronx. NY 10451, in the STATE OF NEW YORK

7 on 04130»'2£}09 3104:30 PM.
\b‘_/o<.c»¢; /6‘-”'3»‘-"'"1"‘

Jack Baer, Chief Clerk Civi| Coun

Page 1 of1

F’ag@ 43

         

EXHIBIT 7

Page 44

 

base l:l§_CV_OZ]_gAr_A|_C DOCument 86-47 Fi|€d 08/18/17 Page 45 Of 54

CIVIL COURT OF l`IiE CITY OF NEW YORK

 

 

COUNTY OF BRONX INDE}{ NO. 3986/03
. -------------- X FILE NO. 3360
1343-45 PROSPECT R,lEAI_TY,
Plaintit`f,
AFFIDAVI.T id
OPPOSITION
_ against ~
ABDOU GAYE,
Det`endant.
____ ..... ___ }{
STATE OF NEW YCJRK )
)SS

COUNTY OF WESTCHESTER )
I, Colin Kingsidaphone, being duly sworn deposes and says:

l_ 1 am a employee for your Aft`trmant, and as suehl arn fully familiar Wit}t the facts and
oiretunstanees of this proceeding

2. On or about July 23, 2013, I received a phone call from Defendant Abdou Ga_ve.

3. During that e<.'rn't'ersation1 Def`endant offered a settlement offer of $l ,500.00 to he paid in
an lump sum payment.

4. ln response,, l informed Dei`endant that before the offer would be accepted it needed to be
authorized by the Plaintiff.

WHER_EFORE, your deponent prays that the relief sought herein is granted in all respects
and for such other and further relief as to this court may seem just and properl

..f l a
.: 2013 f_; f\//f

Colin King,siclaphone

Swom t before me t

"day of`C) t

 
   
  

 

No ry Public:

 

GARY KAVL|L!CH
Notary Fublto, State ot New ¥ork
No. ozmeeoeete
Qua|ttted in Westehaeter County
Cornm|eslon Exptres May 11,2017

 

 

 

F’age 45

 

`Case 1:16-cv-0213_4-ALC Document86-47 Fl|eo|OtS[;t_§/l?nw d _ y

CI`VIL COURT OF THE CITY CJF NEW YORK
COUNTY OF BRONX: PAR'I` 34 Inde>t No. 89896/08
............................ X I~`ile No. 3860

 

1343-45 PROSPECT REALTY,

Plaintii"f`,
MQLLQ£
hagainst- SF_RVICE
ABDOU GAYE,
Defendant.

_____________________________________________________________ X'

Gaty M. Kavulich, Esq., en attontey duly admitted to practice law before the courts of the
State of New York hereby affirms the following under the penalty of perjury

On October,,gj, 2013, I served the within Aff`tnnation in Opposition upon ABDC)U
GAYE, the Defendant in this action, by depositing a true copy in a post»paid envelope addressed
to:

nepco csra
sss asst 170‘h stress Apt, 413
Bronx, NY 10459

  
  
  

in art official depository under the exclusive dominion and c United States Postal

Ser'vice within the State of New York via regular first clas. n tl.

 

Gary M. }id<'ttlich,`iEsd.w

F’age 46

 

+-T`n:""“"#

CaSe`l:l€-cV-02134-ALC Document86-47 Filed 08/18/17 Page 47 of 54 ‘

INDEX NO: 89896/03

CTVII_ COURT OF THE CITY OF NE\\’ YORK
CC)UNTY OF BRONX: PART 34

1343»45 PROSPECT R.EALTY,

Plaintit”t`,

- against -

ABDOU GAYE,
Defendant.

 

AI:FIRMATION IN OPPOSl'l`lON

Signature Rule l§O-I.l-a

 

Pr'tnt Narne Beneath - Gar§/M. Kavulic'h, Esq.

 

Kawlich dc Associates, P.C.
Attomeys for Plaintift`

131 Westchester Ave., Suite 500C
Pon Chester, NY 10573

(914) 355-20?4

 

¢ ° . .' V" "‘ II l "“ 0¢--

AFFIDAVI'I` DF SERVICE
C.'IV|_L COURT OF THE. CUY OF NE.W YOR.K Index No. 89396/08
COUNTY Of" BRONX Fi|od:

Attcmeys: Kavutieh & Associatee, P_C.
Address: 30 Church Street, Suite 25, New Rochelle, NY 10301 File No. \3860

1343-45 PROSPECT REALTY,
vr.
ABDOUGAYE,
SmeofNe'wYolkCo\mryoi`NuseuSS:
MH_ being duly W°m d°PM md Hy='
Dq)mtentunotaponyherem, recover leyeereofxge. WWMLM
m_ess.e.izetstee_ee._te_emt_nutnsemoomowwm md smeva

oo: ABDOU GAYE. Defendant t;beri:n named

w __ "
Indjvidttzi By delivering a fmc copy ofea.r:h to said mcipient: deponent knew the person n § f _ `_,,`i"

|] servedtobed)epereondeeerl'bedossaidperronthereio_ §_c__ §
Corpomion By delivering to and leaving with and tim deponent knew the g "_""`i "-*? r.'“; "';:
[] penonrosrrvedmdamhorimdmaeeeptmieeonbeho|fofdrc@orpmnion §§ xi Yr“'
m C>‘»`t set m
Soitable Age By delivering o true copy ofeach m n Pcrmo ofwimbl= 335 md discde '_' nw E. mg §
Person Saidpremimi.rrecipients[ ]eetuaiplseeofbtmineer[}t]dweilingiemsewithiuthe r- m """“;r:i
pq m. E_ co ‘~'

Afl]x.ing By lffixi.ngomleoopyot`mchwdtcdoorofeaid premiseo, whichi:m:lpioots "
[]aotl.ottp!aoeof'busioess []dweliioghouse(plaoeot'zbode)withinthesmte
l]

milCopy decpoomt¢ompletodmeioemderdiehsttwswdoosby
[X] deporttingaoopyofd:e$mnmommd€omphinxmthenbovcaddrmhnl'
Closs properlyoddreesedenvelopemn'ked“?monalaod¢onfdeotial” inmoflieiel
depositoryuoderd:ee;cetu.siveco:es.ndetmodyoftiie United$tme¢?oel Ql'iioeinthestme
ol“NewYork_

Depooeot wu unable, with due diligence to find the recipient or rt person ot'et.timble age
and discretion having called thereon

Oothe ciayof et
O'rtthe dayot' at
Oothe dayof of

Deecriptioo A description ofthe Defeodaot, or other person served co behlifoi`llte Defood-"tat
[] Sert: f Color ofelcio: M Coior of Hair,"§§j! Age: i§_-§£ Height; §'§Z Weighr: j_§_§LB_S

Militory$voe Depommzskedpmq)okmwwhedmrdtereeipimtwospremnh'inmilhary
[X] scrviccofthc Uniied$wieot}ovemmtorofthe$tmeofNowYorkondWI-$

informed that the recipient is m. Recipiem wore civilian clothes rod no milit\ry uniform
Other

tx]".rae oaa'amaa¢hmteo¢rmamr apwm¢mmm
W/WWMW 67

44 44~

CYL.,! 771-nl
.[;,. 7?,. u r?}]..dec¢rm¢-
centum rtc-pint J-¢r S,WJ'

 

t_tc# treaties

 

Page 43

Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 49 of 54

AFFIDAVI'I` OF SERVICE
C`lVlL COURT DF THE CITY OF NEW YORK index No. 393961'08
COUNTY OF BRONX Filcd:

Attorncys: l(avulich & Associates, P.C.
Address: 30 Churol‘t Strcet, Suite 26, Ncw Rochelle, NY 10801 File No. 3860
1343-45 PROSPECT REALTY,

vs.
ABDOU GAYE.

 

State of Now Yorit County ostssau SS:

A§_t_o,g_g,hgyags_l_l. being duly sworn deposes and says;

Depooent is note party herein, is over ltl years ofage. On M at lg;ggplmk

nt: 325 E. 170“' Street. A_r)t. rtB. ilronr. NY ltM59 served the within Surnrnons and Comptsint
on: ABDOU GAYE_, Def`endant therin named

lodividual By delivering a true copy of each to said recipient: deponent knew the person

[] served to be the person described as said person therein
Corporation By delivering to and leaving with end that deponent knew the
[ ] person so served and authorized to accept service on behalf of the Corporation
Suitablc Age By delivering a true copy ofeacl't to a person of suitable age and discretion
Person Said premises is recipients [ ] actual place of business [X] dwelling house within the
[X] state.

Al`i'txing By affixing a true copy of each to the door afraid premises1 which is recipients
to Door [ 1 actual place of business [] dwelling house (place ofahode) within the state
ll

Mail Copy On Mdeponent completed service under the last two sections by
[ X ] depositing a copy ofthe Surnmons end Complaint to the above address itt a l`“
Class properly addressed envelope merited “Personal and t'_‘ont'tdential” in art official
depository under the exclusive care and custody of the l_lnited Statcs Post Oliicc in the Statc
ol`New 'r‘ork.
Deportent was unable. with due diligence to find the recipient or a person oi`suitahle age
and discretion having called thereat:

On the day of at
Onthc day ot“ at
On the day of at

Description .-'t description ot` the Defendant, or other person served on behalf ol` the Del`enda.r\t
[] Seir: f Color ofsklrt: llng Color of l~lair: BRN Agc: 45-50 Height: 5’5” Weight: 155LBS

Militar}.r Svce Dcponcnt asked person spoken to whether the recipient was presently in military
[ X ] service ofthe United Statee Govcmmcnt or ofthc State of blow York and was
informed that the recipient is Lt. kecipient wore civilian clothes and no military uniform
Other

[X]“.lnne l`_\oe" stated that the Defend an't ls ot rn the military / {F/ /
Sworn tc /mszd:drty ot` /6££3) MZ,_/_" fm cf / 'H
/B,B:_» ///m Aston G Evane ll

- " f LIC# 1220059
y Wr"- yard .Slu|'r Wo.'aly pler

Cu-¢l', 171 gun
t_’lm/ 'Mln~l
le hit williamson
amoco dig-rm cline it,r*u__/'O

    

Pagc 49

 

aSe`. - v‘-l 1-‘ ph l"-' ;.-1 -¢“ 03 3 “';o- '00' 1
CONSUMER C`REDlT 'l`RANSAC'l`lON. 'l`l"llS lS AN A'l"I`IE,MP'I` TO COI`,.LECT A DEB'I`
AND ANY INFORMATION OB'I`AINED WihL iiii`, USED 'l`O COl.,lsECT 'l`I'IlS DEB'I`.

CIVIL COURT OF 'I`l~i.E Cl'i`Y OF NiliW YORK.
CC)UNTY CJF BRC)NX

...................................................... x

1343-45 Prospeet Realty,

rumors r'r~roex No. 05989¢'~:
ran No. esso

-against-
SUMMONS
Place ofVenue is Plaintifi"s
place of business:
Abdou Gaye,
1343 Prospeet Avenue

Bromt, NY 10459
Defendant(s)

...................................................... X
'I`o the above named defendants(s):

YOU AR,E HEREBY SLMMONED to appear at the CIVIL COURT OF THE CITY OF
NEW YC}RK, COUNTY OF BRONX at the office of the clerk of the said Court at 851 Grand
Conoourse, Bronx, NY 10451, in the COUNTY OP BRONX, State of New York, within the
time provided bylaw as noted below and to tile an answer to the below complaint with the
oier'k: upon your failure to answer, judgment will be taken against you for t e s » n "`* 400.00

with interest thereon from Septernber i, 2002 together with costs of this . ` -"//
Kavulich "

Attomey for Plaintiff
30 Church Street
Suite 25

New Rocholle, NY l(.liiill
{914) 355~2074

   
    

DATED: September 10, 2008

Dei`endant’s Address:~
Abdou Gayc
825 E. l70th Street, Aptr 433
Bronx, NY 10459»1331

Note: The law provides that: (a) If the summons is served by its delivery to you personally
within the City of New Yorlc, you must appear and answer within TWENTY days after such
serviee; or (b) if the summons is served by any means other than personal delivery to you

within the City of New Yorlc, you must appear and answer within TI'iIR'i`Y days after proof of
service thereof is filed with the Clerk of this Court.

Page 50

 

 

 

ase 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 51 of 54

COMPLAINT

FIRS']` ACTION: Plaintil`f seeks to recover damages from rlef`eudant(s) for breach of a lease
agreement in the sum of $2,900.00 representing rental arrears for thc months of Scptember,
2002 through and including Docember, 2002 at the agreed monthly sum of $725.00 for the
premises known as 1343 Prospeet Avenue, Apt.#l Bronx, NY 10459 together with costs and
disbursements of this action and for such other and further relief as the court may deem just.

SECOND A§`:TI`C)N: Plaintiff seeks to recover damages from the defendant in the sum of $0.00
representing damages together with costs and disbursements of this action and for stroh other
and further relief as the Court may deem just.

Tiii.RD ACTI.ON: Plaintifi` seeks to recover damages from the defendant in the sum of
$500.00 representing reasonable attorneys fees together with costs and disbursements of this
action and for such other further relief as the Court may deem just.

WHEREFORE, Plaintiff demands judgment (A) on the First Action, in the sum of$2,900.00
plus interest from September l, 2002 together with costs and disbursements of this action and
for such other and further relief as the Court may deem just, (`B) on the Seoond Action, in the
sum of 0.000 plus interest from September 1, 2002 together with costs and disbursements of
this action and for such other and further relief as the Court may deem just, (C) on the Third
Action, in the sum of$500.00 together with costs and disbursements of this action and for
such other and further relief as the Court may deem just.

'I`he Plaintiff in this action is NOT required to be licensed by the New Yorlr City
Dcpartment of Consumer Affairs.

F'agrs 51

»,.-g:.'

emas§&$ceidal§scer?§dd%ee edd§dtdltl"éi§id€oa‘i~'.ldtlr%i./billila §l%%e 52 Oi 54
DEMANDADOE ESTE ES UN DOCUMEN'I`() LEGAL»UNA CI"I"AC[O'N! NO LA BOTE!!
CONSUL,TE CON SU ABOC.`iADO ENSEGUIDA| Lli". l’UEDlEN QUl'l`AR PARTE DE SU
SALARIO (EM`BARGARLO). lSI Ul_`). NO SE PRESEN'I`A EN LA CORTE CON ESTA
ClTAC'l`ION LE PUEDEN CONFISCAR. SUS BIEN`ES (PROPIEDAD) Y FERJUDICAR SU
CRED['I`O!! TAMBIEN ES POSIBLE QUE 'I`ENGA QUE PAGAR 'I`ODOS LOS GASTOS
LEGALES (COSTOS)! Sl UD. NO TIENE DINERO PA.RA UN ABOGADO TRAlGA ES'I`OS
PAPELES A LA CORTE IMMEDIATAMENTE. VHNGA l"s`N PERSONA Y EL

SECRE'I`ARIO LA COl`tTE I,E AYUDARA.

COURTE CIVIL DE LA CULDAD DE NUEVA YORK,
Condado de Bronx lndiee #
-------------------------------------------------------- X Claim # 3360

1343-45 Prospeet Realty,

Demandante, CITATION
La razon de haber designado
Esta Corte es:
»contra- 1343 P'rospeet Avenue
Bronx, NY' 10459
Abdou Gaye,
Demandado(s).
________________________________________________________ x

Al demandado arriba meeionado:

USTED ESTA CITADO a eor'npareoer en la Corte Civil de la Ciudad de Nueva Yorlr, Condado
tie Brort'x a la ofieiana del .Iefe Prineipal de dieha Corte en 851 Grand Cont:t>tlrse, Bromt, NY
10451, in the COURTE CIVIL DE LA CUlDAD DE N'U'EVA YOR.K., NY en el Condado
de Nueva Yorlt Citldad y Estado de Bromt, dentro del tiernpo provisto por la ley segun aban
indicado y presenter respuests s la Demands ajunts s1 Jefe de 1a Corte, si usted no eomparece a
contester, se dictara juicio en contra says en la sums de $3,400.00 con intereses Septernb 1,
2002, inoluyendo los costos de esta oausa.

   

Fechado: September 10. 2008

 

ay: omit smiths .
Kavulich de Assoc` tes, P.C.
30 Church Street, cite 26

New Roehelle, NY 10801
Del`endant's .Ptddress 91¢1~355-2074

Abdou Gaye

825 E. 170th Street Apt. 413

Bron:)t, NY, 10459-1331

Nota: lea le},r provee que: (a) Si ceta eitacion es entregada a usted personaltnente en la
Ciudad de Nueva Yorlc, listed debe eomparece y responder dentro de Viente dias
despuesde la entrega, (b) Si esta citacion es entregsda a otrs persons que no fuera listed
personalmente, o si fuera entregada afuera de 1a Ciudad de Nueva Yorlc, o per medio de
publicacion, o per otros medios que no fueran entrega personal n usted en le Cindad de
Nueva Yorlc, usted tiene 'freinta dias para eompareeer y responder la demanda, despnes
de habcrse presentado prueba de entrega de a citacion al .lefe de esta Corte.

 

` Case 1:16-cv-02134-ALC Document 86-47 Filed 08/18/17 Page 53 of 54

COMF'LA] NT

I’RIMERA ACC!ON: el Demandante procure reeuperar danos del demandao (s) para la
violacion de un acuerdo de arriendo en 1a sums de $2,900.00 ddlares que representan atrasos de
alquiler para los moses del equilibrio ddlares; September, 2002 a través de c incluso
Decernber, 2002 en 1a sums mensual concordada dc 5725.00 local conocido come 1343

Prospect Avenue ill Bronx, NY 10459 juntos con gastos y desembolsos de esta acelon y para
tal otto alivio y adieional come el tribunal puede juzgar sdlo.

SEGUNIJA ACCION: cl Dernandante procure reeuperar danos del demandado en 1a sums de

3 0 dolarcs que representan danos juntos con gastos y desembolsos de esta aecidn y para tal orro
alivio y adicional orlando el Trl‘ounal puedejuagar sdlo.

'I`ERCERA ACCION: el Demandante procure reeuperar danos del demandado en la sutna de
$ 500.00 delarcs que representan honorarios de abogados raaonables juntos con gastos y
dcsembolsos de ceta aceton y para tai otro alivio y adieional euando el Triunal puede juzgar sdlo.

POR QUE, el Demandante exige el juicio (A) en la Frimera Aecidt't, en la suma do 52,900+00
Ddlares mds el interes a partir del September l, 2002 juntos con gastos y desembolsos de esta
aeolon y para tel orro alivio y sdieional cuando el Tribunal pucdc juagar sdlo, (13) en 1a Segunda
Aeeion, en 1a sums de $0 dolares mas el interés el 1 de Septcmber l, 2002 juntos con gastos y
desembolsos de esta aceidn y para tel otro alivio y adicional come el Tribunal pueden juagar solo,
(C) en la Tcrcera Accidn, en 1a sums de 5500.00 dolares mds el interés el juntos con gastos y

descmbolsos de ceta accidn y para tel ot:ro alivio y adicional ouando el Tribunal puede juzgar
solo.

151 Demandante en lists Accion no csta obligado a ser Iicenciado per el Departarnento de
asuntos de Consurnidor de la Ciudad de Nueva York.

 

._§EE . : hm£hu¢=n.,sun:££.u._l§¢£d§d

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

m.. ...J._i in ..\H\ ¢J.u<~l$l¢l
..,. "o§.e§
m am emma
a rm
n 4
5
e
Q
na it l. » . l.. .i
v W. m.urz§e §Hzom
cce
_ \rtv ,t .NQ y § I\_J
fanca..r£€ 5.. t_r._a
MWM.L J=\ Hwa.a~._ce%` d wm § deem ..__um__rmd...,..~ Q.W.__\..W t%¢._..q_t*\ FA_I“WT
\ . as ca .
Ta\? \a\\ want m
a w
aim § _
§n
w.ww_wmweeme § anew lenz me §§ now mo §§ memo
shemm numemom.e earner ii t i.
Hm____m¢¢ma.wmw$.hm~
t t il st - mean
c t WQ.. r ... id r w .PU

 

 

